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14
15                       IN THE UNITED STATES DISTRICT COURT
16                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
18   JAMES KINNICK and WALLACE                 Case No.:
     COATS, on behalf of themselves and
19   all others similarly situated,
                                               CLASS ACTION COMPLAINT
20                Plaintiffs,
                                                  1. Violation of the California Consumer
21         v.                                        Legal Remedies Act (Cal. Civ. Code
                                                     § 1750, et seq.);
22   HYUNDAI MOTOR COMPANY,                       2. Violation of California Unfair
     LTD,; HYUNDAI MOTOR                             Competition Laws (Cal. Bus. & Prof.
23   AMERICA, INC.; and Does 1 through               Code § 17200);
     10, inclusive,                               3. Violation of California False Advertising
24                                                   Law (Cal. Bus. & Prof. Code §§ 17500, et
                  Defendants.                        seq.);
25                                                4. Violation of Ohio Consumer Sales
                                                     Practices Act (Ohio Rev. Code § 1345.01,
26                                                   et seq.);
                                                  5. Breach of Express Warranty;
27                                                6. Breach of Implied Warranty;
                                                  7. Breach of Written Warranty Under the
28                                                   Magnuson-Moss Warranty Act (15 U.S.C.
                                                     § 2301, et seq.);
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 1   10550 Talbert Avenue, Fountain Valley,    8. Common Law Fraud;
     California 92708                          9. Breach of the Duty of Good Faith and
 2                                                Fair Dealing;
                                               10.Violation of the Song-Beverly Act –
 3                                                Breach of Implied Warranty (Cal. Civ.
                                                  Code §§ 1792, 1791.1, et seq.)
 4
                                              DEMAND FOR JURY TRIAL
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 1                        PLAINTIFFS’ CLASS ACTION COMPLAINT
 2         Plaintiffs James Kinnick and Wallace Coats bring this action against Defendants
 3   Hyundai Motor Company (“HMC”), Hyundai Motor America, Inc. (“HMA”), and Does 1
 4   through 10 (collectively “Defendants”), by and through their attorneys, individually and
 5   on behalf of all others similarly situated, and allege as follows:
 6                                        INTRODUCTION
 7         1.     This is a class action lawsuit brought by Plaintiffs on behalf of themselves
 8   and a class of current and former owners and lessees with Theta 2.0-liter and 2.4-liter
 9   gasoline direct injection engines (the “GDI Engines”) installed in certain 2015-2016
10   Hyundai Sonata, Tucson and Santa Fe vehicles (the “Class Vehicles”).1
11         2.     This action arises from Defendants’ failure to disclose to Plaintiffs and
12   similarly situated consumers, despite their longstanding knowledge, that the engines in
13   the Class Vehicles contain, inter alia, a latent defect that results in the restriction of oil
14   flow through the connecting rod bearings, as well as to other vital areas of the engine.
15   This defect – which typically manifests itself during and shortly after the limited
16   warranty period has expired – will cause the Class Vehicles to experience vehicle stalling
17   during operation and catastrophic engine failure.
18         3.     Significantly, the presence of this defect, resulting in restricted oil flow
19   within the engine, poses a safety risk to the operator and passengers of the Class
20   Vehicles. The failure to have sufficient engine lubrication can cause complete and
21   catastrophic engine failure while the Class Vehicles are in operation at any time and
22   under any driving conditions or speed. This exposes the driver and occupants of the Class
23   Vehicles, as well as others who share the road with them, to an increased risk of accident,
24   injury, or death. As discussed further herein, numerous owners and lessees of the Class
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       Plaintiffs reserve the right to amend or add to the vehicle models and model years
28   included in the definitions of Class Vehicles after conducting discovery.

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 1   Vehicles have experienced engine damage and catastrophic failure while operating the
 2   Class Vehicles, thus placing themselves and those around them in immediate danger.
 3         4.     Not only did Defendants actively conceal the fact that particular components
 4   within the Class Vehicles’ engines are prone to failure, they did not reveal that the
 5   existence of the defect would diminish the intrinsic and resale value of the Class Vehicles
 6   and lead to the safety concerns described herein.
 7         5.     Defendants have long been aware of the defect described herein, yet
 8   Defendants have routinely refused to repair the Class Vehicles without charge when the
 9   defect manifests. Indeed, in many cases Defendants have even refused to disclose the
10   existence of the defect when Class Vehicles displaying symptoms consistent with the
11   defect are brought in for service, instead choosing to ignore the defect until it has caused
12   significant mechanical problems necessitating costly repairs.
13         6.     Many other owners and lessees of the Class Vehicles have communicated
14   with Defendants and/or their agents to request that they remedy and/or address the defect
15   and/or resultant damage at no expense. Defendants have routinely failed to do so even
16   within the warranty period.
17         7.     Defendants have also refused to take any action to correct this concealed
18   defect when it manifests in the Class Vehicles outside of the warranty period. Because
19   the defect can manifest shortly outside of the warranty period for the Class Vehicles –
20   and given Defendants’ knowledge of this concealed, safety-related defect – Defendants’
21   attempt to limit the warranty with respect to the engine defect is unconscionable and
22   unenforceable here.
23         8.     Despite notice and knowledge of the defect from the numerous complaints it
24   has received, information received from dealers, National Highway Traffic Safety
25   Administration (“NHTSA”) complaints, and their own internal records, including pre-
26   sale durability testing, Defendants have not recalled and/or offered an adequate engine
27   repair to the Class Vehicles, offered their customers suitable repairs or replacements free
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 1   of charge, or offered to reimburse their customers who have incurred out-of-pocket
 2   expenses to repair the defect.
 3         9.     As a result of Defendants’ unfair, deceptive and/or fraudulent business
 4   practices, owners and/or lessees of the Class Vehicles, including Plaintiffs, have suffered
 5   an ascertainable loss of money and/or property and/or loss in value. The unfair and
 6   deceptive trade practices committed by Defendants were conducted in a manner giving
 7   rise to substantial aggravating circumstances.
 8         10.    Had Plaintiffs and other Class Members known of the defect at the time of
 9   purchase or lease, they would not have bought or leased the Class Vehicles, or would
10   have paid substantially less for them.
11         11.    Plaintiffs are also informed and believe, and on that basis allege, that as the
12   number of complaints increased, and Class Members grew dissatisfied with the
13   performance of the Class Vehicles, Defendants were forced to acknowledge that the
14   Class Vehicles suffer from an inherent defect.
15         12.    As a result of the defect and the monetary costs associated with attempting
16   to repair the defect, Plaintiffs and the Class Members have suffered injury in fact,
17   incurred damages, and have otherwise been harmed by Defendants’ conduct.
18         13.    Accordingly, Plaintiffs bring this action to redress Defendants’ violations of
19   the consumer protection statutes of California and Ohio and also seek recovery for
20   Defendants’ breach of express warranty, breach of implied warranty, breach of the duty
21   of good faith and fair dealing, and common law fraud.
22                                        JURISDICTION
23         14.     This Court has subject matter jurisdiction of this action pursuant to 28
24   U.S.C. § 1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or more
25   class members, (ii) there is an aggregate amount in controversy exceeding $5,000,000,
26   exclusive of interest and costs, and (iii) there is minimal diversity because at least one
27   plaintiff and one defendant are citizens of different States. This court has supplemental
28   jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
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 1           15.   This Court has personal jurisdiction over Defendants because they have
 2   conducted substantial business in this judicial district, and intentionally and purposefully
 3   placed Class Vehicles into the stream of commerce within the districts of California and
 4   throughout the United States.
 5                                              VENUE
 6           16.   Venue is proper in this judicial district pursuant to 28 U.S.C. §1391 because
 7   HMA maintains its corporate headquarters in this district, Defendants transact business in
 8   this district, are subject to personal jurisdiction in this district, and therefore are deemed
 9   to be citizens of this district. Additionally, there are one or more authorized Hyundai
10   dealers within this district and Defendants have advertised in this district and have
11   received substantial revenue and profits from their sales and/or leasing of Class Vehicles
12   in this district; therefore, a substantial part of the events and/or omissions giving rise to
13   the claims occurred, in part, within this district.
14                                             PARTIES
15      A. Plaintiff James Kinnick
16           17.   Plaintiff Kinnick is a citizen of the State of Ohio, and currently resides in
17   Youngstown, Ohio.
18           18.   On or about September 30, 2014, Plaintiff leased a new 2015 Hyundai
19   Sonata (VIN: 5NPE24AF5FH019486) from Marhofer Hyundai located in Green, Ohio.
20           19.   Plaintiff Kinnick leased this vehicle for personal, family and/or household
21   uses.
22           20.   On or about September 7, 2017, with 32,526 miles on the odometer,
23   Plaintiff’s daughter was driving home from work and heard a loud knocking noise
24   emanating from the engine. Plaintiff’s daughter stopped at a red light and the car stalled
25   and she restarted the vehicle. A few blocks later, the knocking noise returned and
26   Plaintiff’s daughter pulled into a parking lot and called Plaintiff.
27           21.   Plaintiff arrived and found the car’s oil levels to be low. Plaintiff purchased
28   three quarts of engine oil, which he used to restore the car’s oil to the proper level.
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 1   Plaintiff began driving the vehicle and did not feel comfortable driving it, so he pulled
 2   into Ron Marhofer Auto Mall, an authorized Hyundai dealership located in Cuyahoga
 3   Falls, Ohio. The service manager informed Plaintiff that the engine was “shot” and that
 4   there were metal shavings in the oil from the pistons.
 5         22.    After providing the service history on the vehicle, the dealership informed
 6   Plaintiff that it would cost $4,000 to $7,000 for a new engine. Hyundai declined to assist
 7   Plaintiff by covering all or part of the repair cost.
 8         23.    As a result, on or about September 28, 2017, Plaintiff paid approximately
 9   $4,857.72 to have the failed engine in his vehicle replaced with a used engine.
10         24.    At all times relevant herein, Plaintiff Kinnick adhered to Hyundai’s
11   recommended maintenance intervals.
12         25.    Plaintiff Kinnick has suffered an ascertainable loss as a result of Defendants’
13   omissions and/or misrepresentations associated with the engine defect, including, but not
14   limited to, out of pocket losses associated with the engine defect, diminished value of his
15   vehicle, and other consequential damages.
16         26.    Neither Defendants, nor any of their agents, dealers, or other representatives
17   informed Plaintiff Kinnick of the existence of the defect prior to, or any time after, his
18   purchase.
19      B. Plaintiff Wallace Coats
20         27.    Plaintiff Wallace Coats is a citizen of the State of California, and currently
21   resides in Sacramento, California.
22         28.    On or about May 2016, Plaintiff purchased a pre-owned 2015 Hyundai
23   Sonata (VIN: 5NPE24AF9FH058355) from Paul Blanco’s Good Car Company located in
24   Sacramento, California.
25         29.    Plaintiff Coats purchased (and still owns) this vehicle, which is used for
26   personal, family and/or household uses.
27         30.    On or about July 17, 2017, while Plaintiff Coats’s son was driving
28   northbound on West Street in Woodland, California, the car’s engine stopped and would
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 1   not crank or re-start. The car was eventually towed to B&F Body and Machine, an auto
 2   repair shop in Woodland, California, where the mechanic indicated that the engine had
 3   seized up. His diagnosis was that the vehicle, now with approximately 70,000 miles on
 4   the odometer, needed a new engine.
 5         31.    On or about September 6, 2017, Plaintiff contacted Hyundai corporate
 6   customer support by phone. Hyundai corporate customer support had his vehicle towed to
 7   Sacramento Hyundai, an authorized Hyundai dealership in Sacramento, California. The
 8   technician noted that the engine was seized and the crankshaft could not be turned by
 9   hand. The technician also found the intake manifold to be contaminated with metal.
10         32.    As a result, on or about November 1, 2017, Plaintiff paid approximately
11   $7,159.19 to have the failed engine in his vehicle replaced with a remanufactured engine.
12         33.    At all times relevant herein, Plaintiff Coats adhered to Hyundai’s
13   recommended maintenance intervals.
14         34.    Plaintiff Coats has suffered an ascertainable loss as a result of Defendants’
15   omissions and/or misrepresentations associated with the engine defect, including, but not
16   limited to, out of pocket losses associated with the engine defect, diminished value of his
17   vehicle, and other consequential damages.
18         35.    Neither Defendants, nor any of their agents, dealers, or other representatives
19   informed Plaintiff Coats of the existence of the defect prior to, or any time after, his
20   purchase.
21      C. Defendants
22         36.    Defendants are automobile design, manufacturing, distribution, and/or
23   service corporations doing business within the United States. Furthermore, Defendants
24   design, develop, manufacture, distribute, market, sell, lease, warrant, service, and repair
25   passenger vehicles, including the Class Vehicles.
26         37.    Defendant Hyundai Motor Company, Ltd. (“HMC”) is a South Korean
27   corporation. HMC is the parent corporation of Hyundai Motor America, Inc. HMC,
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 1   through its various entities, designs, manufactures, markets, distributes and sells Hyundai
 2   automobiles in California and multiple other locations in the United States
 3         38.    Defendant Hyundai Motor America, Inc. (“HMA”) is incorporated and
 4   headquartered in the State of California with its principal place of business at 10550
 5   Talbert Avenue, Fountain Valley, California 92708. HMA is HMC’s U.S. sales and
 6   marketing division, which oversees sales and other operations across the United States.
 7   HMA distributes Hyundai vehicles and sells these vehicles through its network of
 8   dealers. Money received from the purchase of a Hyundai vehicle from a dealership flows
 9   from the dealer to HMA.
10         39.    HMA and HMC sell Hyundai vehicles through a network of dealerships that
11   are the agents of HMA and HMC.
12         40.    There exists, and at all times herein existed, a unity of ownership between
13   HMC, HMA and their agents such that any individuality or separateness between them
14   has ceased and each of them is the alter ego of the others.
15         41.    Upon information and belief, Defendant HMC communicates with
16   Defendant HMA concerning virtually all aspects of the Hyundai products it distributes
17   within the United States.
18         42.    Upon information and belief, the design, manufacture, distribution, service,
19   repair, modification, installation and decisions regarding the GDI Engines as it relates to
20   the engine defect within the Class Vehicles were performed exclusively by Defendants
21   HMA and HMC.
22         43.    Upon information and belief, Defendants HMA and HMC developed the
23   post-purchase owner’s manuals, warranty booklets and information included in
24   maintenance recommendations and/or schedules for the Class Vehicles.
25         44.    HMA and HMC are collectively referred to in this complaint as “Hyundai”
26   or “Defendants” unless identified separately.
27         45.    Hyundai engages in continuous and substantial business in California.
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 1          46.     The true names and capacities of the defendants sued herein as DOES 1
 2    through 10, inclusive, are currently unknown to Plaintiffs, who therefore sue such
 3    defendants by such fictitious names. Each of the defendants designated herein as a DOE
 4    is legally responsible in some manner for the unlawful acts referred to herein. Plaintiffs
 5    will seek leave of Court to amend this Complaint to reflect the true names and capacities
 6    of the defendants designated herein as DOES when such identities become known.
 7          47.     Based upon information and belief, Plaintiffs allege that at all times
 8    mentioned herein, each and every Defendant was acting as an agent and/or employee of
 9    each of the other Defendants, and at all times mentioned was acting within the course and
10    scope of said agency and/or employment with the full knowledge, permission, and
11    consent of each of the other Defendants. In addition, each of the acts and/or omissions of
12    each Defendant alleged herein were made known to, and ratified by, each of the other
13    Defendants.
14                                  CALIFORNIA LAW APPLIES
15          48.     It is appropriate to apply California law to the nationwide claims because
16    California’s interest in this litigation exceeds that of any other state.
17          49.     As discussed above, Defendant HMA is located in Fountain Valley,
18    California and is the sole entity in the contiguous 48 U.S. states responsible for
19    distributing, selling, leasing and warranting Hyundai vehicles.
20          50.     Hyundai’s customer relations, engineering, marketing, and warranty
21    departments are all located in HMA’s Fountain Valley campus. Hyundai’s customer
22    relations department is responsible for fielding customer complaints and monitoring
23    customer complaints posted to Hyundai or third-party websites. Hyundai’s warranty and
24    engineering departments are both responsible for the decisions to conceal the engine
25    defect from Hyundai’s customers, and for instituting a policy to systematically deny
26    warranty coverage to those who experienced engine failure caused by the defect.
27          51.     Based on the foregoing, such policies, practices, acts and omissions giving
28    rise to this Action were developed in, and emanated from, Defendants’ headquarters in
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 1    Fountain Valley, California. As detailed below, Hyundai also came to know, or should
 2    have come to know, of the engine defect through the activities of Hyundai divisions and
 3    affiliated entities located within California. Accordingly, the State of California has the
 4    most significant relationship to this litigation and its law should govern.
 5                        TOLLING OF STATUTES OF LIMITATIONS
 6          52.    Any applicable statute(s) of limitations have been tolled by Defendant’s
 7    knowing and active concealment and denial of the facts alleged herein. Plaintiffs and the
 8    members of the Class could not have reasonably discovered the true, latent nature of the
 9    engine defect until shortly before this class action litigation was commenced.
10          53.    In addition, even after Plaintiffs and Class Members contacted HMA and/or
11    its authorized dealers for vehicle repairs concerning the engine defect, they were
12    routinely told by Defendant and/or through its dealers that the Class Vehicles were not
13    defective. As described below, the true cause of the premature and catastrophic failure in
14    the Class Vehicles is a defect that results in restricted oil flow.
15          54.    Defendant HMA was and remains under a continuing duty to disclose to
16    Plaintiffs and the Members of the Class the true character, quality, and nature of the Class
17    Vehicles, that the manufacturing defect will result in restricted oil flow and catastrophic
18    engine failure, that they will require costly repairs, pose safety concerns, and diminish the
19    resale value of the Class Vehicles. As a result of the active concealment by Defendant
20    HMA, any and all applicable statutes of limitations otherwise applicable to the
21    allegations herein have been tolled.
22                                   FACTUAL ALLEGATIONS
23    A.    The Defective Engine Components within the Class Vehicles
24          55.    Hyundai is a multinational corporation with over 75,000 employees
25    worldwide. Hyundai is currently the fourth largest automobile manufacturer in the world.
26          56.    HMA is the American sales, marketing, and distribution arm of HMC.
27          57.    According to its website, Hyundai builds the Theta 2.4 liter 4-cylinder
28    Gasoline Direct Injection and Theta 2.0 liter 4-cylinder Turbo engines. As a result,
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 1    “[c]astings of engine blocks, heads and crankshafts are delivered from suppliers and
 2    machined to HMMA’s exact specifications.”2
 3    B.    The GDI Engines
 4          58.    The Theta 2.0 liter and 2.4 liter engines contained in the Class Vehicles
 5    contain a gasoline direct-injection (“GDI”) fuel delivery system. Hyundai advertises that
 6    that “[t]his shorter, more direct path of fuel delivery, allows for greater control of the fuel
 7    mixture at the optimum moment, thus improving efficiency. The fuel is injected by a
 8    camshaft-driven, high pressure pump that operates at pressures up to 2,175 psi. Direct
 9    injection also utilizes a higher than normal 11.3:1 compression ratio for increased power.
10    The pistons are ‘dished’ to increase combustion efficiency in the cylinder. This
11    powerplant delivers best-in-class fuel economy, best-in-class four-cylinder horsepower
12    and best-in-class torque.”
13          59.    As background, the GDI Engines contained in the Class Vehicles use four
14    reciprocating pistons to convert pressure into a rotating motion. Gasoline is mixed with
15    air in the combustion chambers of the engine. To generate such rotating motion, a four-
16    step sequence is used (the “Combustion Cycle”). First, the intake stroke begins with the
17    inlet valve opening and a vaporized fuel mixture is pulled into the combustion chamber.
18    Second, the compression stroke begins with the inlet valve closing and the piston
19    beginning its movement upward, compressing the fuel mixture in the combustion
20    chamber. Third, the power stroke begins when the spark plug ignites the fuel mixture,
21    expanding the gases and generating power that is transmitted to the crankshaft. And
22    fourth, the exhaust stroke begins with the exhaust valve opening and the piston moving
23    back up, forcing the exhaust gases out of the cylinder. The exhaust valve then closes, the
24    inlet valve opens, and the Combustion Cycle repeats itself. A diagram of Combustion
25    Cycle is below:
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       https://www.hyundaiusa.com/about-hyundai/news/Corporate_newengine-
      20091120.aspx (last visited August 7, 2017).
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 9          60.    The pistons are connected to the crankshaft via the connecting rod. As the
10    connecting rod moves up and down during the Combustion Cycle, this causes the
11    crankshaft to rotate, ultimately resulting in power to the drive wheels of the vehicle.
12    During this cycle, the crankshaft rotates many thousands of times per minute within
13    each connecting rod. In order to reduce friction and prolong longevity, this design
14    utilizes a bearing placed between the connecting rod and crankshaft surfaces. The
15    connecting rod bearings allow the crankshaft to rotate within the connecting rods during
16    the Combustion Cycle. An exemplar diagram of the piston, connecting rod, connecting
17    rod bearing and crankshaft are shown below:
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16          61.    When the Class Vehicles are in operation, engine oil is used to lubricate
17    the pistons, cylinder walls, connecting rod bearings and other rotating and moving
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 1    components as the pistons move up and down through the four-stroke sequence. Engine
 2    oil is necessary to reduce wear on moving parts throughout the engine, improve sealing,
 3    and cool the engine by carrying away heat from the moving parts. Engine oil also cleans
 4    and transports contaminants away from the engine to the engine oil filter. Oil is pumped
 5    and pressurized throughout the engine by the oil pump. The oil pump draws oil from the
 6    oil pan, located underneath the piston and crankshaft. The oil pump forces engine oil
 7    through the oil filter and then through passages in the engine to properly lubricate and
 8    reduce friction in internal moving engine components. The oil then returns to the oil
 9    pan through small drainage holes located throughout the engine where it will be
10    recirculated by the oil pump. Below is a diagram illustrating the typical path and
11    channels of engine oil lubrication in an overhead cam engine:
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13          62.    The connecting rod bearings are also lubricated with engine oil in order to
14    allow the crankshaft to rotate within the connecting rods. A close-up picture of a
15    functional connecting rod bearing is below:
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 2    C.    Previous GDI Engine Recalls
 3          63.     In or around September 10, 2015, Hyundai Motor America publicly
 4    recalled certain model year 2011-2012 Sonata vehicles manufactured at Hyundai Motor
 5    Manufacturing Alabama and equipped with the 2.4 liter and 2.0 liter GDI Engines. (See
 6    Exhibit 1.)
 7          64.     According to the Hyundai GDI Recall, Hyundai determined that metal
 8    debris may have been generated from factory machining operations as part of the
 9    manufacturing of the engine crankshaft during December 11, 2009, to April 12, 2012.
10    As a result, and according to the Hyundai GDI Recall:
11                  [i]f the debris is not completely removed from the crankshaft’s
                    oil passages, it can be forced into the connecting rod oiling
12                  passages restricting oil flow to the bearings. Since bearings are
                    cooled by oil flow between the bearing and journal, a reduction
13                  in the flow of oil may raise bearing temperatures increasing the
                    potential of premature bearing wear. A worn connecting rod
14                  bearing will produce a metallic, cyclic knocking noise from the
                    engine which increases in frequency as the engine rpm
15                  increases. A worn connecting rod bearing may also result in
                    illumination of the oil pressure lamp in the instrument cluster.
16                  If the vehicle continues to be driven with a worn connecting rod
                    bearing, the bearing can fail, and the vehicle could stall while in
17                  motion.
18          65.     Hyundai went on to explain, in Safety Recall Report 15V-568, that it
19    became aware of engine-related warranty claims in the field. Furthermore, “[t]he vast
20    majority of those claims evidenced that customers were responding to substantial noise,
21    or the vehicle’s check engine light, and bringing their vehicles to service as a result of
22    those warnings. Many customers also complained after the warranty was no longer
23    available.”
24          66.     As a result, Hyundai decided to issue a safety recall for approximately
25    470,000 model year 2011-2012 Sonata vehicles manufactured between December 11,
26    2009 and April 12, 2012 at Hyundai Motor Manufacturing Alabama and equipped with
27    either a 2.0 liter or 2.4 liter Gasoline Direct Injection engine.
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 1          67.    The recall provided notification to owners of the issue, inspection, and
 2    replacement of the engine assembly, as necessary, free of charge. Additionally, Hyundai
 3    increased the warranty for the engine sub-assembly (short block) to 10 years/120,000
 4    miles for both original and subsequent owners.
 5          68.    In or around May 25-June 10, 2016, Kia Motors America (an automotive
 6    company in which Hyundai owns a 33.88% stake in) followed Hyundai’s lead and
 7    notified owners of 2011-14 MY Optima vehicles of issues with the same connecting rod
 8    wear which results in knocking noise from the same GDI engines. As a result, Kia
 9    provided all owners with a warranty extension on the “short block”3 assembly for a
10    period of 10 years starting from the date of first service or 120,000 miles. Kia also
11    alerted owners that if the vehicles continue to be driven with a worn connecting rod
12    bearing, the bearing can fail and may result in engine failure.
13          69.    In March and June 2017, Hyundai and Kia announced that they were
14    recalling an additional 1.4 million vehicles with the GDI Engines because they received
15    widespread reports that the engines could fail and stall, i.e. the same reason for the first
16    recall. This recall included the 2013-2014 Hyundai Santa Fe, the 2013-2104 Sonata, the
17    2011-2014 Kia Optima, the 2011-2013 Kia Sportage, and the 2012-2014 Kia Sorento
18    vehicles. (See Exhibits 2 and 3.)
19          70.    The Class Vehicles have not been recalled despite having the same engine
20    and Plaintiffs and Members of the Class notifying Hyundai about their engines stalling
21    and failing while being operated.
22    D.    Engine Failures within the Class Vehicles
23          71.    Upon information and belief, the connecting rod bearings in the GDI
24    Engines undergo prolonged failure as metal debris circulates throughout the engine via
25    the engine oil. Over time, and as a result of these contaminants in the oiling system, the
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      3
       Per Kia’s description, the short block consists of the engine block, crankshaft and
      bearings, connecting rods and bearings and pistons.
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 1    connecting rod bearings begin to fracture. Once the connecting rod bearings fracture,
 2    large amounts of metal debris begins to accumulate in the engine oil. As a result, the oil
 3    becomes so contaminated with metal debris that the oil filter can no longer remove the
 4    plethora of contaminants and maintain the necessary oil pressure within the engine. This
 5    contaminated engine oil is recirculated throughout the engine by the oil pump, causing
 6    damage to the various engine components and eventually resulting in sudden and
 7    unexpected catastrophic engine failure. If the vehicle is being operated on the highway
 8    at the time of the engine failure, it will ultimately result in a high-speed stalling event.
 9          72.    Additionally, as the connecting rod bearings continue to fracture, the
10    acceptable tolerances between the bearings, the connecting rod, and the crankshaft
11    rapidly deteriorate. Eventually, the Class Vehicles begin producing a “knocking” sound
12    originating from the engine as a result of the deteriorating bearings. In some instances,
13    the defective connecting rod bearings may eventually cause the piston to break through
14    the engine block as a result of the deterioration.
15          73.    A photograph of a fractured connecting rod bearing removed from a GDI
16    Engine is included below. As shown in the photograph, the bearing has fractured and
17    worn away to the point of laying flush along the inside of the connecting rod. A large
18    fracture is also plainly visible along the bottom left side of the bearing.
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 1
 2          74.    After the connecting rod bearings fail and metal debris is circulated
 3    throughout the engine via the engine oil, damage is caused to other key engine
 4    components. As pictured below, the main cap – which fastens the crankshaft to the
 5    engine – can also be damaged by the metal debris in the engine oil. After the main cap
 6    is damaged, play between the main cap and engine develops, which also leads to
 7    catastrophic engine failure.
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19          75.    As a result of the defect, the Class Vehicles suffer from restricted and
20    inadequate engine oil lubrication. As explained above, engines are designed to have oil
21    distributed throughout the engine through lubrication channels. When operating properly,
22    the engine oil is distributed throughout the engine by the oil pump and then flows back to
23    the oil pan where it is redistributed throughout the engine.
24          76.    In the Class Vehicles, the lubrication channels become clogged and
25    restricted as a result of the defect, even under normal use and proper maintenance. When
26    the lubrication channels clog, engine oil is unable to be pumped throughout the engine
27    (through the oil pump) and is also unable to adequately return to the oil pan, causing a
28    condition known as oil starvation. This results in insufficient lubrication throughout the
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 1    Class Vehicle’s engine, which causes premature wear of the engine components and
 2    catastrophic engine failure.
 3           77.    The engine defect poses serious safety and security issues for operators and
 4    occupants of the Class Vehicles. By way of example, the California Department of Motor
 5    Vehicles asserts that stalled engines pose a significant safety risk and, as part of its safety
 6    curriculum, instructs how to properly respond to a stalled action in order to avoid further
 7    risk of injury.
 8           78.    NHTSA takes a similar view of engine failure during vehicle operation. For
 9    instance, according to Forbes, in 2011 the NHTSA recalled certain Chrysler and Dodge
10    vehicles due to “engine seizure because of connecting rod bearing failure . . . . Engine
11    seizure could increase the risk of a crash.”4
12           79.    Defendants failed to adequately research, design, test, and/or manufacture
13    the Class Vehicles before warranting, advertising, promoting, marketing, and selling the
14    Class Vehicles as suitable and safe for use in an intended and/or reasonably foreseeable
15    manner.
16    E.     Defendant’s Knowledge of the Engine Defect
17           80.    Plaintiffs’ experiences are by no means isolated or outlying occurrences.
18    Indeed, the internet is replete with examples of blogs and other websites where
19    consumers have complained of the exact same engine defect within the Class Vehicles
20    and complaints from earlier model year Hyundai owners and lessees with the same
21    engines. Upon information and belief, Defendant HMA, through (1) their own records of
22    customers’ complaints, (2) dealership repair records, (3) records from the National
23    Highway Traffic Safety Administration (“NHTSA”), (4) warranty and post-warranty
24    claims, (5) internal pre-sale durability testing, and (6) other various sources, were well
25
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28      http://www.forbes.com/sites/altheachang/2011/09/30/engine-problems-prompt-
      chrysler-recalls/ (last visited August 7, 2017).
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 1    aware of the engine defect but failed to notify consumers of the nature and extent of the
 2    problems with the GDI Engines or provide any adequate remedy.
 3          81.    HMA routinely monitors the internet for complaints similar in substance to
 4    those quoted below. HMA’s customer relations department routinely monitors the
 5    internet for customer complaints, and HMA has retained the services of third-parties to
 6    do the same. Further, the customer relations division regularly receives and responds to
 7    customer calls concerning, inter alia, product defects. Through these sources, HMA was
 8    made aware of the engine defect. The complaints also indicate HMA’s knowledge of the
 9    defect and its potential danger.
10          82.    HMA is experienced in the design and manufacture of consumer vehicles.
11    As an experienced manufacturer, HMA likely conducts testing on incoming batches of
12    components, including the GDI Engine, to verify that the parts are free from defects and
13    comply with HMA’s specifications. Accordingly, HMA knew or should have known that
14    the engine used in the Class Vehicles is defective and likely to fail prematurely, costing
15    Plaintiffs and Class Members thousands of dollars in expenses.
16          83.    Moreover, HMA also should have known of the connecting rod bearing
17    defect and insufficient lubrication channels because of the sheer number of reports of
18    engine problems relating to the connecting rod bearings and/or lubrication channels. For
19    instance, HMA’s customer relations department, which interacts with Hyundai-
20    authorized service technicians in order to identify potentially widespread vehicle
21    problems and assist in the diagnosis of vehicle issues, has received numerous reports of
22    engine problems relating to the connecting rod bearings and lubrication channels.
23    Customer relations also collects and analyzes field data including, but not limited to,
24    repair requests made at dealerships and service centers, technical reports prepared by
25    engineers that have reviewed vehicles for which warranty coverage is requested, parts
26    sales reports, and warranty claims data.
27          84.    HMA’s warranty department similarly reviews and analyzes warranty data
28    submitted by its dealerships and authorized technicians in order to identify defect trends
                                                  -21-
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 1    in its vehicles. HMA dictates that when a repair is made under warranty (or warranty
 2    coverage is requested), service centers must provide HMA with detailed documentation
 3    of the problem and the fix that describes the complaint, cause, and correction, and also
 4    save the broken part in case HMA later determines to audit the dealership or otherwise
 5    verify the warranty repair. For their part, service centers are meticulous about providing
 6    this detailed information about in-warranty repairs to HMA because HMA will not pay
 7    the service centers for the repair if the complaint, cause, and correction are not
 8    sufficiently described.
 9          85.    HMA knew or should have known about the engine defect because of the
10    high number of replacement parts likely ordered from HMA. All Hyundai service centers
11    are required to order replacement parts, including engines, piston assemblies, and
12    connecting rod bearings directly from HMA. Other independent vehicle repair shops that
13    service Class Vehicles also order replacement parts directly from HMA. HMA routinely
14    monitor part sales reports, and are responsible for actually shipping parts requested by
15    dealerships and technicians. Thus, HMA has detailed, accurate, and real-time data
16    regarding the number and frequency of replacement part orders. The sudden increase in
17    orders for the GDI Engines and engine components used in the Class Vehicles was
18    known to HMA, and should have alerted it to the scope and severity of the engine defect.
19          86.    In September 2012, HMA issued a technical service bulletin (“TSB”) to its
20    authorized dealerships regarding an engine knocking noise. TSBs are documents used by
21    automotive manufacturers to inform dealership technicians about new information,
22    including vehicle problems, new repair procedures, and improved parts. In TSB No. 12-
23    EM-006, HMA acknowledged that the earlier model years of the Class Vehicles with
24    identical engines were defective and experienced a “knocking noise.” As a result, HMA
25    directed dealers to blame the engine defect on the use of aftermarket oil filters and
26    instructed the dealers to replace the aftermarket oil filter with a genuine Hyundai oil
27    filter. The TSB also explained that this “repair” is not covered under warranty. HMA has
28    failed to provide any post-sale notification to owners and lessees regarding the use of
                                                   -22-
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 1    only genuine Hyundai oil filters in the Class Vehicles. Instead, HMA attempts to
 2    circumvent warranty obligations related to the engine defect by faulting customers for use
 3    of an aftermarket oil filter. The defective connecting rod bearings and oil lubrication
 4    channels are not, however, caused by the use of an aftermarket engine oil filter. Despite
 5    HMA’s knowledge of this fact, HMA has not informed Plaintiffs of the true cause of the
 6    defective connecting rod bearings and insufficient oil lubrication channels.
 7    F.    Complaints by Other Class Members
 8          87.    Representative examples of complaints on the NHTSA website regarding the
 9    Class Vehicles are included below (with emphasis supplied in capitalized bold letters) 5:
10                 a.    Previous Model Year Hyundai GDI Engine Complaints
11    Vehicle: 2011 Hyundai Sonata
      Date Complaint Filed: 1/21/2015
12    Component(s): ENGINE
      Date of Incident: 01/19/2015
13    NHTSA ID Number: 10678152
      Manufacturer: Hyundai Motor America
14
            SUMMARY:
15          I WAS DRIVING DOWN THE HIGHWAY, THE ENGINE STARTED
            MAKING A KNOCKING NOISE. NO LESS THAN 30 SECONDS LATER
16          DID THE CAR'S ENGINE MAKE A LARGE BAG NOISE AND I RAN OVER
            WHAT FELT LIKE PARTS. I COASTED A WHILE DOWN THE ROAD AND
17          FINALLY PULLED THE CAR OVER TO THE SIDE OF THE ROAD. UPON
            OPENING THE HOOD I DISCOVERED OIL ALL OVER THE INTAKE AND
18          EXHAUST MANIFOLDS AS WELL AS THE RADIATOR. I CALLED
            HYUNDAI ROADSIDE ASSISTANCE AND HAD THE CAR TOWED TO
19          FAULKNER HYUNDAI IN HARRISBURG PA ON 1/19/14. THEY PROVIDED
            A SERVICE LOANER AND SAID THEY WOULD GET BACK TO ME WITH
20          AN UPDATE ON THE CAR. I WAITED UNTIL WEDNESDAY THE 21ST
            BEFORE CALLING THEM, ONLY TO FIND OUT THAT THE ENGINE HAD
21          SEIZED AND THEY HAD ALREADY TAKEN PICTURES OF THE DAMAGE
            AND SENT THEM TO THE HYUNDAI PEOPLE TO SEEK WARRANTEE
22          COVERAGE. THEY ALSO ASKED ME FOR MAINTENANCE RECORDS ON
            THE CAR. I CHANGE THE OIL MYSELF AND ALWAYS PUT IN FULL
23          SYNTHETIC, SO THEY HAD ME SUBMIT RECEIPTS FROM THE AUTO
            PARTS STORE PROVING I BOUGHT OIL AND FILTERS OR THE SONATA.
24          I AM NOW AWAITING RESOLUTION FROM HYUNDAI. WILL UPDATE
            ONCE I HAVE AN ANSWER FROM HYUNDAI. THIS IS A PRETTY
25          SERIOUS SAFETY CONCERN, THE ENGINE LET GO AT 60+MPH
            WITHOUT WARNING, WHEN IT LET GO IT BLEW OIL ALL OVER
26          THE ENGINE COMPARTMENT AND I'M SURE ON THE ROAD AS
27
      5
28      The following complaints are reproduced as they appear on the NHTSA website. Any
      typographical errors are attributable to the original author of the complaint.
                                                  -23-
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 1          WELL. LUCKY I WAS DRIVING EARLY IN THE MORNING AND
            THEIR WAS VERY LITTLE TRAFFIC.
 2
 3    Vehicle: 2011 Hyundai Sonata
      Date Complaint Filed: 1/06/2015
 4    Component(s): ENGINE
      Date of Incident: 01/06/2015
 5    NHTSA ID Number: 10670454
      Manufacturer: Hyundai Motor America
 6
            SUMMARY:
 7          I WAS TRAVELING DOWN A HIGHWAY WHEN MY ENGINE
            STARTED TO MAKE A KNOCKING SOUND. THE CHECK ENGINE
 8          LIGHT CAME ON, AND WITHIN 10 SECONDS MY CAR STOPPED
            RUNNING. I WAS STILL MOVING WHEN THIS HAPPENED. I WAS
 9          FORTUNATE TO BE ABLE TO COAST TO A CLOSE BY SIDE ROAD. I AM
            GRAVELY CONCERNED THAT THIS COULD HAVE HAPPENED ON THE
10          INTERSTATE AT HIGHER SPEEDS, AND THE POTENTIAL
            CONSEQUENCES OF SUCH. I HAD THE CAR TOWED TO A DEALER,
11          AND THEY TELL ME THE ENGINE IS SHOT. I CONTACTED HYUNDAI
            CUSTOMER CARE, AND THEIR RESPONSE WAS "WHAT DO YOU WANT
12          ME TO DO ABOUT IT." AFTER MORE RESEARCH, I HAVE FOUND
            NUMEROUS OTHER INSTANCES OF THIS ENGINE FAILURE. IF THIS IS
13          AN ONGOING PROBLEM, I FEEL HYUNDAI SHOULD DO SOMETHING
            BEFORE SOMEONE GETS KILLED WHEN THIS HAPPENS. PLEASE NOTE
14          I AM THE SECOND OWNER OF THIS CAR. THE MILEAGE AT JUST OVER
            85,000 IS MAINLY HIGHWAY MILES, AND THE CAR IS SERVICED
15          REGULARLY.
16
      Vehicle: 2011 Hyundai Sonata
17    Date Complaint Filed: 10/26/2014
      Component(s): ENGINE
18    Date of Incident: 10/01/2014
      NHTSA ID Number: 10650011
19    Manufacturer: Hyundai Motor America
20          SUMMARY:
            10/1/2014 @ 7:30PM EST - WHILE DRIVING HOME, WAS AT A RED
21          LIGHT WHEN THE CAR STALLED OUT. THEN A LOUD KNOCKING
22          SOUND HAPPENED. *NO ENGINE LIGHT WAS ON* IT IS VERY
            UNSAFE FOR THE ENGINE TO STALL OR JUST RANDOMLY SHUTOFF
23          WHILE IN TRAFFIC. THERE WERE NO SIGNS OR WARNINGS, THE
            VEHICLE JUST STALLED. VEHICLE WAS NOT SAFE TO OPERATE. I HAD
24          THE VEHICLE TOWED TO NORTHTOWNE HYUNDAI DEALER ON
            SHERIDAN DRIVE, BUFFALO NY.10/3/2014 @ 2:47PM EST -
25          NORTHTOWNE HYUNDAI DEALER CALLED ME SAID THAT I NEED
            TO REPLACE MY ENGINE BECAUSE THE PISTON POPPED. I SAID
26          WELL, MY CAR IS WELL WITHIN THE WARRANTY, ISN'T THIS
            COVERED? NORTHTOWNE HYUNDAI DEALER SAID THAT WE CAN'T
27          SUBMIT YOUR WARRANTY CLAIM WITH OUT RECEIPTS OF YOUR
            MAINTENANCE FROM 5K MILES TO PRESENT. 10/3 - 10/13/2014 -
28          CONTACTED OUR 3 LOCAL PLACES WE LIKE TO SEND OUR VEHICLES
            TO FOR COPIES OF OUR RECEIPTS. WITH NO PROBLEM WE WERE
                                             -24-
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 1          ABLE TO OBTAIN COPIES OF OUR LAST 7 OIL CHANGES AND
            GENERAL MAINTENANCE RECEIPTS. 10/14/2014 @ 2:00PM EST - MY
 2          HUSBAND GAVE NORTHTOWNE HYUNDAI DEALER OUR RECEIPTS
            AND HE STATED THAT HE WILL SUBMIT OUR CLAIM TO HYUNDAI.
 3          10/24/2014 @ 8:59AM EST - "REGIONAL" / "CORPORATE" CALLED ME
            AND STATED "THE DISTRICT MANAGER WHO WOULD HAVE
 4          AUTHORIZED THE REPAIR, HAD THE DEALERSHIP PARTIALLY
            DISASSEMBLE THE ENGINE; TAKE OFF THE COVER FOR INSPECTION,
 5          AND THERE'S A CONDITION OF SLUDGE WHICH IS INDICATIVE OF
            EITHER THE MAINTENANCE INTERVALS NOT BEING FOLLOWED; OIL
 6          CHANGE NOT FREQUENTLY ENOUGH OR POSSIBLY THE QUALITY OR
            GRADE OF THE OIL USED. IN EITHER CASE THESE IS NOT A
 7          MANUFACTURE DEFECT, SO HE HAS DENIED WARRANTY
            COVERAGE." I'VE ALSO ADDED MY COMPLAINT TO THE FOLLOWING:[
 8          HTTP://WWW.CHIMICLES.COM/2011-HYUNDAI-SONATA-ENGINE-
            FAILURE-CLASS-ACTION-LAWSUIT ] ** OUR LAST OIL CHANGE WAS
 9          8/2/2014 AT 43K MILES ** WE HAD A CLEAN BILL OF HEALTH, NO
            ISSUES WERE REPORTED OR MAINTENANCE RECOMMENDED AT
10          THAT TIME.
11
      Vehicle: 2012 Hyundai Sonata
12    Date Complaint Filed: 1/02/2015
      Component(s): ENGINE
13    Date of Incident: 12/27/2013
      NHTSA ID Number: 10669708
14    Manufacturer: Hyundai Motor America
15          SUMMARY:
            WAS DRIVING 35 MPH MAKING A TURN WHEN I HEARD A
16          KNOCKING NOISE. WAS SUBTLE AT FIRST. CHECKED OIL AND WAS
            LOW. ADDED 1 QRT OF OIL. DROVE HOME ABOUT 2 MILES AND
17          KNOCKING BECAME EXTREMELY LOUD. TOOK IT TO LEN STOLER
            HYUNDAI DEALERSHIP AND THEY STATED THAT EXHAUST
18          MANIFOLD, DRIVE BELT, PISTONS, AND VALVES NEED TO BE
            REPLACED. BASICALLY, $6300.00 WORTH OF WORK. CAR IS UP TO
19          DATE ON ALL MAINTENANCE. NO OTHER ISSUES WITH CAR.
            WARRANTY DOES NOT COVER ENGINE DAMAGE AND NO HELP WAS
20          GIVEN. I HAVE SEEN MANY OTHER COMPLAINTS ABOUT THE SAME
            ENGINE ISSUES. HYUNDAI SHOULD REPLACE!
21
22    Vehicle: 2013 Hyundai Santa Fe
23    Date Complaint Filed: 08/25/2013
      Component(s): ENGINE
24    Date of Incident: 08/21/2013
      Component(s): ENGINE
25    NHTSA ID Number: 10537110
      Manufacturer: Hyundai Motor America
26          SUMMARY:
27          I WAS AT A LIGHT, AS I LET GO OF THE BRAKE, I HEARD A LOUD
            CLANKING SOUND AND THE FRONT OF THE CAR SHOOK AND THE
28          CAR IMMEDIATELY DIED. I TRIED TO RESTART, MADE THE SAME
            SOUND AND DIED. CALLED ROADSIDE AND HAD VEHICLE TOWED
                                             -25-
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 1          TO DEALERSHIP AFTER AN HOUR AND A HALF BEING STUCK AT A
            LIGHT/INTERSECTION. I WAS TOLD THE NEXT DAY THAT MY
 2          CAR SUFFERED A "CATASTROPHIC ENGINE FAILURE". NO
            CODES CAME UP. THEY DROPPED THE PAN AND SAID METAL
 3          PIECES FELL OUT! I WAS LIVID! I'VE ONLY HAD THE CAR LESS
            THAN A MONTH, ONLY ABOUT 1500 MILES AND THE ENGINE WENT
 4          OUT! THANK GOD, I JUST DROPPED THE KIDS OFF TO SCHOOL AND
            THE ROAD WASN'T SO BUSY AS TO CAUSE AN ACCIDENT. I HAD NO
 5          WARNINGS FROM STARTING THE CAR, NO MESSAGES FROM BLUE
            LINK. SERVICE MANAGER AT DEALERSHIP STATES I WOULD NOT
 6          HAVE RECEIVED ANY WARNING, BECAUSE IT HAPPENED QUICK
            WHICH IS WHY IT IS LABELED AS "CATASTROPHIC FAILURE".
 7          WHAT IF THIS HAPPENED WITH MY KIDS IN THE CAR, ON THE
            FREEWAY, OR TRAVELING? SO A REPLACEMENT ENGINE IS BEING
 8          ORDERED FROM SOUTHERN CALIFORNIA. I DON'T TRUST IT. I
            REPORTED IT TO CORPORATE, WHICH SENT TO REGIONAL OFFICE.
 9          AND I AM AWAITING A RESPONSE. I ORIGINALLY REQUESTED A
            REPLACEMENT VEHICLE BUT AFTER READING THE COMPLAINTS
10          ON NHTSA, I WANT MY MONEY BACK. I DON'T TRUST THIS CAR
            ANYMORE, I DON'T FEEL SAFE AND I DON'T WANT THE THOUGHT
11          IN THE BACK OF MY MIND THAT THERE COULD BE A CHANCE OF
            SOMETHING ELSE HAPPENING! MY HUSBAND IS DEPLOYED RIGHT
12          NOW, AND WHAT I DESERVE IS SOME PEACE OF MIND AND NOT
            PUT MYSELF OR MY CHILDREN AT JEOPARDY OF A POSSIBLE
13          REPEAT ENGINE FAILURE, CRACKED FRONT AXLE, ISSUES WITH
            ACCELERATION OR WHATEVER ELSE THAT CAN OCCUR THAT I'VE
14          READ ON THIS SITE. THIS IS A DEFINITE SAFETY ISSUE AND
            SHOULD NOT HAVE TO WAIT FOR MORE COMPLAINTS TO DO
15          SOMETHING ABOUT IT! PLEASE HELP ME RESOLVE THIS WITH
            GETTING MY MONEY BACK! A BRAND NEW CAR SHOULD NOT
16          HAVE SUFFERED A CATASTROPHIC ENGINE FAILURE! *TR
17                 b.     Class Vehicle Complaints
18    Vehicle: 2015 Hyundai Sonata
      Date Complaint Filed: 08/16/2017
19    Component(s): ENGINE
      Date of Incident: 07/29/2017
20    NHTSA ID Number: 11015695
      Manufacturer: Hyundai Motor America
21
            SUMMARY:
22          MY ENGINE SUDDENLY STALLED WHILE DRIVING DOWN A BUSY
            HIGHWAY WITH MY FAMILY. LUCKILY NO ONE WAS HURT THANK
23          THE LORD! WE WERE DRIVING DOWN THE HIGHWAY WHEN WE
            STARTED TO HEAR A KNOCKING NOISE AND THE CAR STARTED TO
24          DECELERATE. WE NOTICED THERE WAS WHITE SMOKE AS WELL. I
            WAS ABLE TO GET THE CAR TO THE SHOULDER OF THE HIGHWAY.
25          THE CAR WOULD NOT RESTART SO WE CALLED ROADSIDE
            ASSISTANCE AND SINCE IT WAS SATURDAY EVENING, (AFTER
26          HOURS) WE HAD PARK THE CAR AT A NEARBY WALMART UNTIL
            MONDAY. I HAD TO DO THE WHOLE ROADSIDE ASSISTANCE SONG
27          AND DANCE ALL OVER AGAIN MONDAY. THE SERVICE DEPARTMENT
            WAS VERY ACCOMMODATING. THEY WERE PLEASANT AND EVEN
28          PROVIDED A LOANER CAR. THEY INFORMED ME THE ENGINE
            WOULD NEED TO BE REPLACED BUT SINCE MY CAR ONLY HAD
                                               -26-
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 1          34,000 MILES IT SHOULD BE COVERED. THEY SAID THEY JUST HAD
            TO GET IT APPROVED BY HYUNDAI FIRST. AFTER A WEEK OF
 2          WAITING THEY CALLED ME UP AN TOLD ME HYUNDAI WOULD
            NOT BE COVERING THE VEHICLE DUE LACK OF MAINTENANCE
 3          (SIGHTED OIL CRUDE BUILD UP AS EVIDENCE) AND I WOULD
            NEED TO FORK OVER $5500. I GOT THE OIL CHANGED AND
 4          MAINTAINED THE CAR BUT FAILED TO KEEP DOCUMENTATION.
            UPON RESEARCHING THE ISSUE, IT APPEARS HYUNDAI HAS A
 5          HISTORY OF NOT STANDING BY THEIR WARRANTY AND LEAVING
            THEIR CUSTOMERS HIGH AND DRY. IN FACT THEY JUST SETTLED A
 6          LAW SUIT FOR THE SAME EXACT THING. SO WE PAID UP, WAITED A
            WEEK FOR THE REPAIRS AND NOW I'M BACK UP HERE A WEEK
 7          LATER WITH ANOTHER ENGINE PROBLEM (OVERHEATING). LUCKILY
            WE ONLY HAD THE CAR FOR A WEEK BECAUSE THEY LIKELY
 8          WOULD'VE CHARGED ME AGAIN. WELL HOPEFULLY THEY WILL
            PROVIDE ME WITH A LOANER AGAIN BECAUSE THIS JUST
 9          DESTROYED MY WORK SCHEDULE FOR TODAY.
10
      Vehicle: 2015 Hyundai Sonata
11    Date Complaint Filed: 07/06/2017
      Component(s): ENGINE
12    Date of Incident: 7/02/2017
      NHTSA ID Number: 11003408
13    Manufacturer: Hyundai Motor America
14          SUMMARY:
            THE CONTACT OWNS A 2015 HYUNDAI SONATA. THE CONTACT
15          STATED THAT WHILE DRIVING, HE HEARD A RATTLING NOISE
            UNDER THE HOOD. THE CONTACT STATED ALSO MENTIONED
16          WHILE TAKING THE VEHICLE TO BE SERVICED FOR AN OIL
            CHANGE, THE RATTLING NOISE BEGAN TO MAKE A LOUD
17          KNOCKING NOISE. THE CHECK ENGINE WARNING LIGHT
            ILLUMINATED. THE CONTACT MENTIONED THAT THE INDEPENDENT
18          MECHANIC INFORMED HIM THAT HE SHOULD NOT DRIVE THE
            VEHICLE AND THAT HE NEEDED TO HAVE THE ENGINE CHECKED.
19          THE VEHICLE WAS THEN TAKEN TO DAVE HALLMAN HYUNDAI AT
            2104 STATE ST, ERIE, PA 16503, (814) 452-6731 WHERE IT WAS
20          DIAGNOSED THAT THERE WAS AN OIL SLUDGE BUILD-UP AND
            THAT THE ENGINE NEEDED TO BE REPLACED. THE VEHICLE WAS
21          NOT REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE
            FAILURE BUT DID NOT OFFER ANY FURTHER ASSISTANCE. THE
22          FAILURE MILEAGE WAS 56,150.
23
24    Vehicle: 2015 Hyundai Sonata
      Date Complaint Filed: 01/24/2017
25    Component(s): ENGINE
      Date of Incident: 01/21/2017
26    NHTSA ID Number: 10947369
      Manufacturer: Hyundai Motor America
27          SUMMARY:
28          THE CONTACT OWNS A 2016 HYUNDAI SONATA. WHILE DRIVING
            APPROXIMATELY 35 MPH, THE ENGINE SEIZED WITHOUT WARNING.
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 1          THE VEHICLE WAS TOWED TO A TOW FACILITY. THE VEHICLE WAS
            NOT DIAGNOSED OR REPAIRED. THE MANUFACTURER WAS NOT
 2          MADE AWARE OF THE FAILURE. THE VIN AND FAILURE MILEAGE
            WERE UNKNOWN. UPDATED 05/30/17*LJ
 3
 4    Vehicle: 2015 Hyundai Sonata
      Date Complaint Filed: 12/05/2016
 5    Component(s): ENGINE
      Date of Incident: 12/03/2016
 6    NHTSA ID Number: 10929989
      Manufacturer: Hyundai Motor America
 7
            SUMMARY:
 8          WHILE STATIONARY I NOTICED THE CAR'S ENGINE SOUNDED
            LIKE IT WAS TICKING. I DROVE OFF ABOUT 35 MILES PER HOUR
 9          WHEN MY 2015 HYUNDAI SONATA LIMITED STALLED WHILE
            DRIVING. THE CAR STARTED SHAKING WHILE ATTEMPTING TO
10          SPEED UP TO KEEP THE VEHICLE RUNNING. I HAD MY PASSENGER
            WHO WITNESSED THE INCIDENT AND WE RECORDED USING THE
11          CELL PHONE TO RECORD THE INCIDENT. THE ENGINE LIGHT CAME
            ON THEN OFF AGAIN. EVENTUALLY IT CUT OFF COMPLETELY. I HAD
12          TO RESTART AND THE SPEED OF THE VEHICLE WOULD NOT GO PAST
            50 MPH. THE ENGINE SHOOK THE ENTIRE CAR AND SOUNDED LIKE
13          THE GEARS DID NOT WANT TO SHIFT. THE DEALER WAS NOT ABLE
            TO REPLICATE THE ISSUE OR FIND ANY CODES ON THEIR SYSTEM.
14          THIS SAME THING HAPPEN TO MY 2011 SONATA IN WHICH HYUNDAI
            REFUSE TO PAY IN A CLASS ACTION LAWSUIT BECAUSE I TRADED
15          OUT OF THE VEHICLE A YEAR AFTER THEY REPLACED THE ENGINE.
            THE ENGINE ALSO STALLED WHILE TRAVELING AT HIGHWAY
16          SPEED AND STARTED SMELLING LIKE AN ELECTRICAL FIRE
            WHILE SMOKE CAME FROM UNDER THE ENGINE. I HAD TO HAVE
17          IT TOWED BACK TO THE DEALERSHIP. *TR
18
      Vehicle: 2015 Hyundai Sonata
19    Date Complaint Filed: 11/23/2016
      Component(s): ENGINE
20    Date of Incident: 11/10/2016
      NHTSA ID Number: 10927713
21    Manufacturer: Hyundai Motor America
22          SUMMARY:
23          MY WIFE HELEN DRIVES TO WORK 35 MILES EACH WAY DAILY, SHE
            STARTED HEARING A RATTLING NOISE THAT CAME FROM THE
24          ENGINE AREA. THE NOISE PERSISTED FOR A FEW DAYS AND WAS
            OBSERVED DURING HER COMMUTE TO WORK TWICE. HUSBAND TEST
25          DROVE CAR AS WELL AND COMFIRMED A RATTLING NOISE. CAR
            TOWED TO PREMIER HYNDAUI 3480 NAGLEE ROAD, TRACY ,
26          CALIFORNIA,95304. SEVICE TECHNITIAN COMFIRMED IN WRITING
            VEHICLE HAS A NON REPAIRABLE ENGINE, METAL EXTRACTS
27          WERE FOUND INSIDE THE OIL PAN AND THE DEALERSHIP
            ADVISED ENGINE IS NO GOOD AND NEEDS TO BE REPLACED.
28
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 1    Vehicle: 2015 Hyundai Sonata
      Date Complaint Filed: 08/24/2016
 2    Component(s): ENGINE
      Date of Incident: 08/05/2016
 3    NHTSA ID Number: 10898269
      Manufacturer: Hyundai Motor America
 4
            SUMMARY:
 5          HIGH SPEED ENGINE STALL: WHILE DRIVING AT HIGHWAY SPEEDS
            ON AUGUST 5, 2016, MY VEHICLE SUDDENLY LOST POWER WHILE
 6          DRIVING ON THE HIGHWAY, WHICH RESULTED IN VEHICLE COMING
            TO A STOP. ON ATTEMPTING TO RESTART THE ENGINE, THE ENGINE
 7          HAD SEIZED AND WOULD NOT RESTART AND THE RESTART ATTEMPT
            WAS ACCOMPANIED BY NOISE FROM THE ENGINE AND VIBRATIONS
 8          CAUSING THE ENTIRE VEHICLE TO SHAKE. VEHICLE HAD TO BE
            TOWED TO THE DEALER FOR REPAIRS
 9
10    Vehicle: 2015 Hyundai Sonata
      Date Complaint Filed: 03/18/2016
11    Component(s): ENGINE
      Date of Incident: 03/17/2016
12    NHTSA ID Number: 10850477
      Manufacturer: Hyundai Motor America
13
            SUMMARY:
14          THE CONTACT OWNS A 2015 HYUNDAI SONATA. WHILE EXITING THE
            VEHICLE AT 40 MPH, THE VEHICLE STALLED WITHOUT WARNING.
15          THE VEHICLE WAS ABLE TO BE PULLED OVER TO THE SIDE OF THE
            ROAD, BUT COULD NOT BE RESTARTED. THE VEHICLE WAS TOWED
16          TO A DEALER WHERE IT WAS DIAGNOSED THAT THE ENGINE SEIZED
            AND NEEDED TO BE REPLACED. THE VEHICLE WAS NOT REPAIRED.
17          THE MANUFACTURER WAS NOT MADE AWARE OF THE FAILURE. THE
            FAILURE MILEAGE WAS APPROXIMATELY 4,000.
18
19    Vehicle: 2015 Hyundai Sonata
      Date Complaint Filed: 02/02/2016
20    Component(s): ENGINE
      Date of Incident: 01/31/2016
21    NHTSA ID Number: 10823709
22    Manufacturer: Hyundai Motor America

23          SUMMARY:
            I PURCHASED A NEW 2015 HYUNDAI SONATA 8 MOS AGO AND TWO
24          DAYS AGO WHILE DRIVING ON A LOCAL HIGHWAY I HEARD A LOUD
            KNOCKING SOUND WHILE ACCELERATING. YESTERDAY I TOOK IT TO
25          THE HYUNDAI DEALER SERVICE CTR WHERE I PURCHASED THE
            VEHICLE AND I WAS TOLD THAT I NEED A NEW ENGINE DUE TO
26          THERE BEING METAL SHAVINGS IN THE MOTOR.

27          88.    Upon information and belief, HMA regularly monitors these NHSTA
28    databases as part of its ongoing obligation to identify potential defects in its vehicles.

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 1    NHTSA complaints establish that HMA knew, or should have known, of the engine
 2    defect at least as early as August 25, 2013,6 before the Class Vehicles at issue in this
 3    litigation were sold. Upon information and belief, Defendant became aware of the engine
 4    defect earlier than August 25, 2013 through: (1) Defendant’s own records of customers’
 5    complaints, (2) dealership repair records, (3) records from NHTSA, (4) warranty and
 6    post-warranty claims, (5) pre-sale durability testing and part sales, and (6) other various
 7    sources.
 8    G.      Pre-Sale Durability Testing
 9            89.    Defendants are experienced in the design and manufacture of consumer
10    vehicles. As experienced manufacturers, Defendants conduct tests, including pre-sale
11    durability testing, on incoming components, including the engine, to verify the parts are
12    free from defects and align with Defendants’ specifications.
13    Hyundai represents that it conducts a “brutal amount of testing” on its vehicles,
14    including “everything from pushing the engine in triple-digit heat and subzero
15    arctic conditions to crashing over 100 cars to ensure every measure of safety
16    before production of the car even begins.”7
17            90.    Hyundai acknowledges that it is a “latecomer in the global automotive
18    industry” but that, in response to that, “Hyundai motor has been proving itself through the
19    most stringent and toughest tests in the development process.”8 Among these tests is
20    the “WOW (Worst of Worst) test” which has been nicknamed the “door to hell” because
21    the test is held in extreme areas including the rough roads, hilly sections and moist areas
22    in China, extremely hot areas in the Middle East, extreme cold areas in Russia and
23    highways, mountainous areas and slanted hills in Germany. This is where Hyundai
24    Motor’s confidence in its powertrain’s high performance and strong durability lies.”
25
26
      6   See NHTSA ID Number 10537110.
27
      7
28        https://www.hyundaiusa.com/new-thinking/quality.aspx (last visited Dec. 4, 2017).
      8
          http://brand.hyundai.com/en/brand/technology/powertrain.do (last visited Dec. 4, 2017).
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 1          91.    As a result, Hyundai was well aware of the engine defect prior to the Class
 2    Vehicles being sold to Class Members.
 3    H.    Defendants’ Warranty-Related Practices
 4          92.    HMA issued two relevant warranties with each Class Vehicle: a “New
 5    Vehicle Limited Warranty,” and a “Powertrain Warranty.”
 6          93.    Under the basic New Vehicle Limited Warranty, HMA agreed to repair
 7    defects reported within the earlier of 5 years or 60,000 miles.
 8          94.    Under the Powertrain Warranty, HMA agreed to repair defects affecting
 9    various powertrain components through 10 years and 100,000 miles. According to the
10    Warranty and Consumer Information Manual, Powertrain Coverage Components include:
11                 ENGINE
                   Cylinder block/head and all internal parts, manifolds, timing
12                 gears, timing chain, timing cover, gaskets and seals, oil pump,
                   water pump, fly-wheel, oil pan assembly, rocker cover and
13                 engine mounts, and turbocharger.
14                 TRANSMISSION/TRANSAXLE
                   Case and all internal parts, axle shafts (front/rear), constant
15                 velocity joints, front/rear hub bearings, propeller shafts, seals
                   and gaskets, torque converter and converter housing and clutch
16                 cover and housing, transfer case for Santa Fe, Tucson and
                   Veracruz . . . .
17
18          95.    HMA instructs vehicle owners and lessees to bring their vehicles to a
19    Hyundai dealership for the warranty repairs. Many owners and lessees have presented
20    Class Vehicles to Hyundai dealerships with complaints related to the engine defect.
21          96.    HMA has evaded its warranty obligations by failing to tell consumers that
22    their vehicles are defective and by representing that the cause of the defect is the owner’s
23    neglect to properly maintain the engine oil and/or engine oil level. This representation,
24    however, is false as the engine is inherently defective and will inevitably fail.
25          97.    In addition, Hyundai has also evaded its warranty obligations by requiring
26    consumers to produce the entire maintenance history of the Class Vehicles, including a
27    mandate that all oil changes be completed at a Hyundai dealership, before determining
28    whether to make the necessary repairs under warranty. Hyundai, however, knows that
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 1    the defect in the Class Vehicles’ engines manifests even if the owner or lessee has
 2    followed Hyundai’s oil change guidelines. Even if consumers produce their vehicles’
 3    maintenance history, Hyundai blames the defect and engine failure on the consumer,
 4    refuses to cover the necessary repairs under warranty, and charges as much as $10,000 to
 5    repair the engine.
 6          98.    Hyundai also advertises that it offers “America’s Best Warranty.” With
 7    respect to the powertrain warranty, however, Hyundai publicizes the existence of 10
 8    year/100,000 mile powertrain warranty but fails to mention that subsequent owners only
 9    receive powertrain warranty coverage for 5 years/60,000 miles. As such, subsequent
10    owners are left to discover the limited warranty coverage after purchasing their vehicle.
11    Hyundai’s failure to cover repairs under the powertrain warranty between 5 years/60,000
12    miles and 10 years/100,000 miles is therefore unconscionable and unenforceable. A
13    typical Hyundai advertisement touting “America’s Best Warranty” is pictured below:
14
15
16
17
18
19
20
21
22
23          99.    In many instances, consumers have incurred and will continue to incur
24    expenses for the diagnosis of the defect, despite such defect having been contained in the
25    Class Vehicles when manufactured by Defendant, repair and replacement of the GDI
26    Engine and the unnecessary and premature replacement of the connecting rods, crank
27    shaft, oil pump, and other engine components.
28
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 1          100. Furthermore, a number of Class Members, who presented their Class
 2    Vehicles to Hyundai dealerships because of issues related to the defective connecting rod
 3    bearings and insufficient engine oil lubrication channels, were denied warranty repairs
 4    and, instead, informed that nothing was wrong with their vehicles. As a result, after
 5    expiration of the warranty period, Class Members are forced to pay costly repairs to
 6    correct the defect.
 7                                     CLASS ALLEGATIONS
 8          101. Plaintiffs bring this action on their own behalf, and on behalf of a nationwide
 9    class pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and/or 23(b)(3).
10                 Nationwide Class:
11                 All persons or entities in the United States who are current or
                   former owners and/or lessees of a Class Vehicle.
12
13          102. In the alternative to the Nationwide Class, and pursuant to Federal Rule of
14    Civil Procedure 23(c)(5), Plaintiffs seek to represent the following state classes only in
15    the event that the Court declines to certify the Nationwide Class above. Specifically, the
16    state classes consist of the following:
17                 California Class:
18                 All persons or entities in California who are current or former
                   owners and/or lessees of a Class Vehicle for primarily personal,
19                 family or household purposes, as defined by California Civil
                   Code § 1791(a).
20
                   Ohio Class:
21
                   All persons or entities in Ohio who are current or former
22                 owners and/or lessees of a Class Vehicle.
23          103. Together, the California Class, the Ohio Class, and the Nationwide Class
24    shall be collectively referred to herein as the “Class.” Excluded from the Class are HMA,
25    their affiliates, employees, officers and directors, persons or entities that purchased the
26    Class Vehicles for resale, and the Judge(s) assigned to this case. Plaintiffs reserve the
27    right to modify, change, or expand the Class definitions based on discovery and further
28    investigation.
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 1          104. Numerosity: Upon information and belief, the Class is so numerous that
 2    joinder of all members is impracticable. While the exact number and identities of
 3    individual members of the Class are unknown at this time, such information being in the
 4    sole possession of Defendant and obtainable by Plaintiffs only through the discovery
 5    process, Plaintiffs believe, and on that basis allege, that hundreds of thousands of Class
 6    Vehicles have been sold and leased in each of the states that are the subject of the Class.
 7          105. Existence and Predominance of Common Questions of Fact and Law:
 8    Common questions of law and fact exist as to all members of the Class. These questions
 9    predominate over the questions affecting individual Class Members. These common legal
10    and factual questions include, but are not limited to, whether:
11              a. The Class Vehicles were sold with a defect;
12              b. Defendants knew of the defect but failed to disclose the problem and
                   its consequences to their customers;
13
                c. A reasonable consumer would consider the defect or its consequences
14                 to be material;
15              d. Defendants have failed to provide free repairs as required by their
                   New Vehicle Limited Warranty and/or Powertrain Warranty;
16
                e. Defendants should be required to disclose the existence of the defect;
17                 and
18              f. Defendants’ conduct violates the California Legal Remedies Act,
                   California Unfair Competition Law, and the other statutes asserted
19                 herein.
20          106. Typicality: All of Plaintiffs’ claims are typical of the claims of the Class
21    because Plaintiffs purchased Class Vehicles with the same engine defect, defective
22    vehicle design, and defective engine, as did each member of the Class. Furthermore,
23    Plaintiffs and all Members of the Class sustained monetary and economic injuries
24    including, but not limited to, ascertainable losses arising out of Defendants’ wrongful
25    conduct. Plaintiffs are advancing the same claims and legal theories on behalf of
26    themselves and all absent Class Members.
27          107. Adequacy: Plaintiffs are adequate representatives because their interests do
28    not conflict with the interests of the Class that they seek to represent, they have retained
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 1    counsel who are competent and highly experienced in complex class action litigation, and
 2    they intend to prosecute this action vigorously. The interests of the Class will be fairly
 3    and adequately protected by Plaintiffs and their counsel.
 4          108. Superiority: A class action is superior to all other available means of fair
 5    and efficient adjudication of the claims of Plaintiffs and Members of the Class. The
 6    injury suffered by each individual Class member is relatively small in comparison to the
 7    burden and expense of individual prosecution of the complex and extensive litigation
 8    necessitated by Defendants’ conduct. It would be virtually impossible for Members of the
 9    Class individually to redress effectively the wrongs done to them. Even if the Members
10    of the Class could afford such individual litigation, the court system could not.
11    Individualized litigation presents a potential for inconsistent or contradictory judgments.
12    Individualized litigation increases the delay and expense to all parties, and to the court
13    system, presented by the complex legal and factual issues of the case. By contrast, the
14    class action device presents far fewer management difficulties, and provides the benefits
15    of single adjudication, an economy of scale, and comprehensive supervision by a single
16    court. Upon information and belief, members of the Class can be readily identified and
17    notified based on, inter alia, Defendants’ vehicle identification numbers, warranty
18    claims, registration records, and database of complaints.
19          109. Defendants have acted, and refused to act, on grounds generally applicable
20    to the Class, thereby making appropriate final equitable relief with respect to the Class as
21    a whole.
22                                   FIRST CAUSE OF ACTION
23       VIOLATIONS OF CALIFORNIA’S CONSUMER LEGAL REMEDIES ACT
24                             (“CLRA”) (Cal. Civ. Code § 1750, et seq.)
25         (On Behalf of the Nationwide Class or, Alternatively, the California Class)
26          110. Plaintiffs and the Class incorporate by reference each preceding and
27    succeeding paragraph as though fully set forth at length herein.
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 1          111. Plaintiffs bring this claim on behalf of themselves and on behalf of the
 2    Nationwide Class. Alternatively, Plaintiff Coats brings this claim on behalf of himself
 3    and on behalf of the California Class against Defendants.
 4          112. Defendants are “persons” as that term is defined in California Civil Code
 5    § 1761(c).
 6          113. Plaintiffs and the Class Members are “consumers” as that term is defined in
 7    California Civil Code §1761(d).
 8          114. Defendants engaged in unfair and deceptive acts in violation of the CLRA
 9    by the practices described above, and by knowingly and intentionally concealing from
10    Plaintiffs and Class Members that the Class Vehicles suffer from a defect(s) (and the
11    costs, risks, and diminished value of the vehicles as a result of this problem). These acts
12    and practices violate, at a minimum, the following sections of the CLRA:
13                 (a)(2) Misrepresenting the source, sponsorship, approval or
                   certification of goods or services;
14
                   (a)(5) Representing that goods or services have sponsorships,
15                 characteristics, uses, benefits or quantities which they do not
                   have, or that a person has a sponsorship, approval, status,
16                 affiliation or connection which he or she does not have;
17                 (a)(7) Representing that goods or services are of a particular
                   standard, quality, or grade, or that goods are of a particular style
18                 or model, if they are of another; and
19                 (a)(9) Advertising goods and services with the intent not to sell
                   them as advertised.
20
21          115. Defendants’ unfair or deceptive acts or practices occurred repeatedly in
22    Defendants’ trade or business, were capable of deceiving a substantial portion of the
23    purchasing public, and imposed a serious safety risk on the public.
24          116. Defendants knew that the Class Vehicles and GDI Engines were defectively
25    designed or manufactured, would fail prematurely, and were not suitable for their
26    intended use.
27
28
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 1          117. Defendants were under a duty to Plaintiffs and the Class Members to
 2    disclose the defective nature of the Class Vehicles and the defective nature of the
 3    connecting rod bearings and insufficient engine oil lubrication channels because:
 4                 a.     Defendants were in a superior position to know the true state of facts
 5                        about the safety defect and associated repair costs in the Class
 6                        Vehicles and their engines;
 7                 b.     Plaintiffs and the Class Members could not reasonably have been
 8                        expected to learn or discover that the Class Vehicles and their engine
 9                        had dangerous safety defect until manifestation of the defect;
10                 c.     Defendants knew that Plaintiffs and the Class Members could not
11                        reasonably have been expected to learn or discover the safety and
12                        security defect and the associated repair costs that it causes until the
13                        manifestation of the defect; and
14                 d.     Defendants actively concealed the safety and security defect and the
15                        associated repair costs by asserting to Plaintiffs and Class Members
16                        that the cause of their engine problems was the result of Plaintiffs’ and
17                        the Class Members’ inability to maintain the proper engine oil levels
18                        despite knowing the repairs needed to correct the defect.
19          118. In failing to disclose the engine defect and the associated safety risks and
20    repair costs that result from it, Defendants have knowingly and intentionally concealed
21    material facts and breached their duty to disclose.
22          119. The facts concealed or not disclosed by Defendants to Plaintiffs and the
23    Class Members are material in that a reasonable consumer would have considered them
24    to be important in deciding whether to purchase Defendants’ Class Vehicles or pay a
25    lesser price. Had Plaintiffs and the Class known about the defective nature of the Class
26    Vehicles and their engines, they would not have purchased the Class Vehicles or would
27    have paid less for them.
28
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 1          120. Plaintiff Coats provided Defendants with notice of its violations of the
 2    CLRA pursuant to California Civil Code § 1782(a) on December 14, 2017, and seeks
 3    injunctive relief. After the 30-day notice period expires, Plaintiff will amend this
 4    complaint to seek monetary damages under the CLRA.
 5          121. Plaintiffs and the other Class Members’ injuries were proximately caused by
 6    Defendants’ fraudulent and deceptive business practices.
 7          122. Therefore, Plaintiffs and the other Class Members seek injunctive under the
 8    CLRA.
 9                                 SECOND CAUSE OF ACTION
10          VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
11                                 (Cal. Bus. & Prof. Code § 17200)
12         (On Behalf of the Nationwide Class or, Alternatively, the California Class)
13          123. Plaintiffs and the Class incorporate by reference each preceding and
14    succeeding paragraph as though fully set forth at length herein.
15          124. Plaintiffs bring this claim on behalf of themselves and on behalf of the
16    Nationwide Class. Alternatively, Plaintiff Coats brings this claim on behalf of himself
17    and on behalf of the California Class against Defendants.
18          125. The California Unfair Competition Law (“UCL”) prohibits acts of “unfair
19    competition,” including any “unlawful, unfair or fraudulent business act or practice” and
20    “unfair, deceptive, untrue or misleading advertising.” Cal. Bus. & Prof. Code § 17200.
21          126. Defendants have engaged in unfair competition and unfair, unlawful or
22    fraudulent business practices by the conduct, statements, and omissions described above,
23    and by knowingly and intentionally concealing from Plaintiffs and the Class Members
24    that the Class Vehicles suffer from a defect (and the costs, safety risks, and diminished
25    value of the vehicles as a result of these problems). Defendants should have disclosed this
26    information because they were in a superior position to know the true facts related to the
27    defect, and Plaintiffs and Class Members could not reasonably be expected to learn or
28    discover the true facts related to the defect.
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 1          127. The defective connecting rod bearings and insufficient engine oil lubrication
 2    channels constitute a safety issue that triggered Defendants’ duty to disclose the safety
 3    issue to consumers.
 4          128. These acts and practices have deceived Plaintiffs and are likely to deceive
 5    the public. In failing to disclose the defect and suppressing other material facts from
 6    Plaintiffs and the Class Members, Defendants breached their duties to disclose these
 7    facts, violated the UCL, and caused injuries to Plaintiffs and the Class Members. The
 8    omissions and acts of concealment by Defendants pertained to information that was
 9    material to Plaintiffs and the Class Members, as it would have been to all reasonable
10    consumers.
11          129. The injuries suffered by Plaintiffs and the Class Members are greatly
12    outweighed by any potential countervailing benefit to consumers or to competition, nor
13    are they injuries that Plaintiffs and the Class Members should have reasonably avoided.
14          130. Defendants’ acts and practices are unlawful because they violate California
15    Civil Code §§ 1668, 1709, 1710, and 1750 et seq., and California Commercial Code
16    § 2313.
17          131. Plaintiffs seek to enjoin further unlawful, unfair and/or fraudulent acts or
18    practices by Defendants, to obtain restitutionary disgorgement of all monies and revenues
19    generated as a result of such practices, and all other relief allowed under California
20    Business & Professions Code § 17200.
21                                  THIRD CAUSE OF ACTION
22               VIOLATION OF CALIFORNIA FALSE ADVERTISING LAW
23                             (Cal. Bus. & Prof. Code § 17500, et seq.)
24         (On Behalf of the Nationwide Class or, Alternatively, the California Class)
25          132. Plaintiffs and the Class incorporate by reference each preceding and
26    succeeding paragraph as though fully set forth at length herein.
27
28
                                                  -39-
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 1           133. Plaintiffs bring this claim on behalf of themselves and on behalf of the
 2    Nationwide Class. Alternatively, Plaintiff Coats brings this claim on behalf of himself
 3    and on behalf of the California Class against Defendants.
 4           134. California Business & Professions Code § 17500 states: “It is unlawful for
 5    any . . . corporation . . . with intent directly or indirectly to dispose of real or personal
 6    property . . . to induce the public to enter into any obligation relating thereto, to make or
 7    disseminate or cause to be made or disseminated . . . from this state before the public in
 8    any state, in any newspaper or other publication, or any advertising device, . . . or in any
 9    other manner or means whatever, including over the Internet, any statement . . . which is
10    untrue or misleading, and which is known, or which by the exercise of reasonable care
11    should be known, to be untrue or misleading.”
12           135. Defendants caused to be made or disseminated through California and the
13    United States, through advertising, marketing and other publications, statements that
14    were untrue or misleading, and which were known, or which by the exercise of
15    reasonable care should have been known to Defendants, to be untrue and misleading to
16    consumers, including Plaintiffs and the other Class Members.
17           136. Defendants have violated section 17500 because the misrepresentations and
18    omissions regarding the safety, reliability, and functionality of their Class Vehicles as set
19    forth in this Complaint were material and likely to deceive a reasonable consumer.
20           137. Plaintiffs and the other Class Members have suffered an injury in fact,
21    including the loss of money or property, as a result of Defendants’ unfair, unlawful,
22    and/or deceptive practices. In purchasing or leasing their Class Vehicles, Plaintiffs and
23    the other Class Members relied on the misrepresentations and/or omissions of Defendants
24    with respect to the safety and reliability of the Class Vehicles. Defendants’
25    representations were untrue because the Class Vehicles are distributed with defective
26    connecting rod bearings and insufficient engine oil lubrication channels. Had Plaintiffs
27    and the other Class Members known this, they would not have purchased or leased their
28    Class Vehicles or would not have paid as much for them. Accordingly, Plaintiffs and the
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 1    other Class Members overpaid for their Class Vehicles and did not receive the benefit of
 2    their bargain.
 3          138. All of the wrongful conduct alleged herein occurred, and continues to occur,
 4    in the conduct of Defendants’ businesses. Defendants’ wrongful conduct is part of a
 5    pattern or generalized course of conduct that is still perpetuated and repeated, both in the
 6    state of California and nationwide.
 7          139. Plaintiffs, individually and on behalf of the other Class Members, request
 8    that this Court enter such orders or judgments as may be necessary to enjoin Defendants
 9    from continuing their unfair, unlawful, and/or deceptive practices and to restore to
10    Plaintiffs and the other Class Members any money Defendants acquired by unfair
11    competition, including restitution and/or restitutionary disgorgement, and for such other
12    relief set forth below.
13                                FOURTH CAUSE OF ACTION
14           VIOLATION OF THE OHIO CONSUMER SALES PRACTICES ACT
15                                  (On Behalf of the Ohio Class)
16          140. Plaintiffs and the Class incorporate by reference each preceding and
17    succeeding paragraph as though fully set forth at length herein.
18          141. Plaintiff Kinnick brings this claim on behalf of himself and on behalf of the
19    Ohio Class against Defendants.
20          142. Plaintiff and the other Ohio Subclass members are “consumers” as defined
21    by the Ohio Consumer Sales Practices Act, OHIO REV. CODE § 1345.01 (“OCSPA”).
22    Defendants are “suppliers” as defined by the OCSPA. Plaintiffs’ and the other Ohio
23    Subclass members’ purchases or leases of the Class Vehicles were “consumer
24    transactions” as defined by the OCSPA.
25          143. By willfully failing to disclose and actively concealing the defective
26    transmission, Defendants engaged in deceptive business practices prohibited by the
27    OCSPA, including (1) representing that the Class Vehicles have characteristics, uses,
28    benefits, and qualities which they do not have, (2) representing that the Class Vehicles
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 1    are of a particular standard, quality, and grade when they are not, (3) advertising the
 2    Class Vehicles with the intent not to sell them as advertised, and (4) engaging in acts or
 3    practices which are otherwise unfair, misleading, false, or deceptive to the consumer.
 4          144. In the course of its business, Defendants willfully failed to disclose and
 5    actively concealed the defect discussed herein, and otherwise engaged in activities with a
 6    tendency or capacity to deceive. Defendants also engaged in unlawful trade practices by
 7    employing deception, deceptive acts or practices, fraud, misrepresentations, or
 8    concealment, suppression, or omission of material facts with intent that others rely upon
 9    such concealment, suppression, or omission, in connection with the sale of the Class
10    Vehicles.
11          145. Defendants knew they had installed defective engines and knew that the
12    Class Vehicles did not operate safely, as advertised. Defendants knew this for years, but
13    concealed all of that information from the public.
14          146. Defendants also valued profits over safety, and knew that they were
15    manufacturing, selling, and distributing vehicles throughout the United States that did not
16    perform as advertised and jeopardized the safety of the vehicle’s occupants. Defendants
17    concealed this information as well.
18          147. By failing to disclose that the Class Vehicles did not operate safely because
19    of the defect, by marketing their vehicles as safe, reliable, and of high quality, and by
20    presenting themselves as a reputable manufacturer that valued safety and stood behind
21    their vehicles after they were sold, Defendants engaged in deceptive business practices in
22    violation of the OCSPA.
23          148. Defendants’ unfair or deceptive acts or practices were likely to and did in
24    fact deceive reasonable consumers, including Plaintiff and the other Class members,
25    about the true performance of the Class Vehicle with the defect, the quality of the
26    Hyundai brand, the devaluing of safety and performance at Hyundai, and the true value of
27    the Class Vehicles.
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 1          149. Defendants intentionally and knowingly misrepresented material facts
 2    regarding the Class Vehicles with an intent to mislead Plaintiff and the Ohio class.
 3          150. Defendants knew or should have known that their conduct violated the
 4    OCSPA.
 5          151. Defendants owed Plaintiff a duty to disclose the true safety, performance,
 6    and reliability of the Class Vehicles, and the devaluing of safety and performance at
 7    Hyundai, because Hyundai:
 8                 a.     Possessed exclusive knowledge that it valued profits and cost-cutting
 9                        over safety and performance, and that it was manufacturing, selling,
10                        and distributing vehicles throughout the United States that did not
11                        perform as advertised;
12                 b.     Intentionally concealed the foregoing from Plaintiffs and the Class;
13                        and/or
14                 c.     Made incomplete representations about the safety and performance of
15                        the Class Vehicles generally, and the defective engines in particular,
16                        while purposefully withholding material facts from Plaintiff and the
17                        Class that contradicted these representations.
18          152. Because Defendants fraudulently concealed the defect and the true
19    performance of the Class Vehicles, the value of the Class Vehicles has greatly
20    diminished. In light of the stigma attached to those vehicles by Defendants’ conduct,
21    they are now worth significantly less than they otherwise would be.
22          153. The Ohio Attorney General has made available for public inspection prior
23    state court decisions which have held that the acts and omissions of Defendants in this
24    Complaint, including, but not limited to, the failure to honor both implied warranties
25    and express warranties, the making and distribution of false, deceptive, and/or
26    misleading representations, and the concealment and/or non-disclosure of a dangerous
27    defect, constitute deceptive sales practices in violation of the OCSPA.
28          154. These cases include, but are not limited to, the following:
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 1                 a.     Mason v. Mercedes Benz USA, LLC (OPIF #10002382);
 2                 b.     State ex rel. Betty D. Montgomery v. Volkswagen Motor Co. (OPIF
 3                        #10002123);
 4                 c.     State ex rel. Betty D. Montgomery v. Bridgestone/Firestone, Inc.
 5                        (OPIF #10002025);
 6                 d.     Bellinger v. Hewlett-Packard Co., No. 20744, 2002 Ohio App. LEXIS
 7                        1573 (Ohio Ct. App. Apr. 10, 2002) (OPIF #10002077);
 8                 e.     Borror v. MarineMax of Ohio, No. OT-06-010, 2007 Ohio App.
 9                        LEXIS 525 (Ohio Ct. App. Feb. 9, 2007) (OPIF #10002388);
10                 f.     State ex rel. Jim Petro v. Craftmatic Organization, Inc. (OPIF
11                        #10002347);
12                 g.     Mark J. Craw Volkswagen, et al. v. Joseph Airport Toyota, Inc. (OPIF
13                        #10001586);
14                 h.     State ex rel. William J. Brown v. Harold Lyons, et al. (OPIF
15                        #10000304);
16                 i.     Brinkman v. Mazda Motor of America, Inc. (OPIF #10001427);
17                 j.     Khouri v. Don Lewis (OPIF #100001995);
18                 k.     Mosley v. Performance Mitsubishi aka Automanage (OPIF
19                        #10001326);
20                 l.     Walls v. Harry Williams dba Butch’s Auto Sales (OPIF #10001524);
21                        and
22                 m.     Brown v. Spears (OPIF #10000403).
23          155. As a result of its violations of the OCSPA, as detailed above, Defendants
24    caused actual damage to Plaintiff and, if not stopped, will continue to harm Plaintiff.
25    Plaintiff and the Class currently own or lease, or within the class period have owned or
26    leased, a Class Vehicle that is defective, which has caused the value of the Class
27    Vehicles to decrease.
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 1          156. Plaintiff and the Class sustained damages as a result of Defendants’ unlawful
 2    acts and are therefore entitled to damages and other relief as provided under the OCSPA.
 3          157. Because Defendants fraudulently concealed the defect and the true
 4    performance of cars equipped with the defective engines, the value of the Class
 5    Vehicles has greatly diminished. In light of the stigma attached to those vehicles by
 6    Defendants’ conduct, they are now worth significantly less than they otherwise would
 7    be.
 8          158. Plaintiffs also seek court costs and attorneys’ fees as a result of Hyundai’s
 9    violations of the OCSPA, as provided in Ohio Rev. Code § 1345.09.
10                                   FIFTH CAUSE OF ACTION
11                             BREACH OF EXPRESS WARRANTY
12    (On Behalf of the Nationwide Class or, Alternatively, the California Class and Ohio
13                                              Class)
14          159. Plaintiffs and the Class incorporate by reference each preceding and
15    succeeding paragraph as though fully set forth at length herein.
16          160. Plaintiffs bring this claim on behalf of themselves and on behalf of the
17    Nationwide Class or, alternatively, on behalf of each of the state subclasses.
18          161. Defendants provided all purchasers and lessees of the Class Vehicles with
19    the express warranties described herein, which became part of the basis of the bargain.
20    Accordingly, Defendants’ warranties are express warranties under state law.
21          162. The parts affected by the defect, including the rotating assembly and engine
22    block, were distributed by Defendants in the Class Vehicles and are covered by the
23    warranties Defendants provided to all purchasers and lessors of Class Vehicles.
24          163. Defendants breached these warranties by selling and leasing Class Vehicles
25    with the defect, requiring repair or replacement within the applicable warranty periods,
26    and refusing to honor the warranties by providing free repairs or replacements during the
27    applicable warranty periods.
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 1          164. Plaintiffs notified Defendants of the breach within a reasonable time, and/or
 2    were not required to do so because affording Defendants a reasonable opportunity to cure
 3    their breaches of written warranty would have been futile. Defendants also knew of the
 4    defect and yet have chosen to conceal it and to fail to comply with their warranty
 5    obligations.
 6          165. As a direct and proximate cause of Defendants’ breach, Plaintiffs and the
 7    other Class Members bought or leased Class Vehicles they otherwise would not have,
 8    overpaid for their vehicles, did not receive the benefit of their bargain, and their Class
 9    Vehicles suffered a diminution in value. Plaintiffs and Class Members have also incurred
10    and will continue to incur costs related to the diagnosis and repair of the defective
11    connecting rod bearings and insufficient engine oil lubrication channels.
12          166. Defendants’ attempt to disclaim or limit these express warranties vis-à-vis
13    consumers is unconscionable and unenforceable under the circumstances here.
14    Specifically, Defendants’ warranty limitation is unenforceable because they knowingly
15    sold a defective product without informing consumers about the defect.
16          167. The time limits contained in Defendants’ warranty period were also
17    unconscionable and inadequate to protect Plaintiffs and members of the Class. Among
18    other things, Plaintiffs and Class Members had no meaningful choice in determining
19    these time limitations, the terms of which unreasonably favored Defendants. A gross
20    disparity in bargaining power existed between Defendants and the Class Members, and
21    Defendants knew or should have known that the Class Vehicles were defective at the
22    time of sale and would fail well before their useful lives.
23          168. Plaintiffs and the Class Members have complied with all obligations under
24    the warranty, or otherwise have been excused from performance of said obligations as a
25    result of Defendants’ conduct described herein.
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 1                                  SIXTH CAUSE OF ACTION
 2                             BREACH OF IMPLIED WARRANTY
 3    (On Behalf of the Nationwide Class or, Alternatively, the California Class and Ohio
 4                                               Class)
 5          169. Plaintiffs and the Class incorporate by reference each preceding and
 6    succeeding paragraph as though fully set forth at length herein.
 7          170. Plaintiffs bring this claim on behalf of themselves and on behalf of the
 8    Nationwide Class or, alternatively, on behalf of each of the state subclasses.
 9          171. Defendants were at all relevant times the manufacturer, distributor,
10    warrantor, and/or seller of the Class Vehicles. Defendants knew or had reason to know of
11    the specific use for which the Class Vehicles were purchased.
12          172. Defendants provided Plaintiffs and the other Class members with an implied
13    warranty that the Class Vehicles and any parts thereof are merchantable and fit for the
14    ordinary purposes for which they were sold. However, the Class Vehicles are not fit for
15    their ordinary purpose of providing reasonably reliable and safe transportation at the time
16    of sale or thereafter because, inter alia, the Class Vehicles and their engines suffered
17    from defective connecting rod bearings and insufficient engine oil lubrication channels at
18    the time of sale that causes the vehicles to experience premature and catastrophic engine
19    failure. Therefore, the Class Vehicles are not fit for their particular purpose of providing
20    safe and reliable transportation.
21          173. Defendants impliedly warranted that the Class Vehicles were of
22    merchantable quality and fit for such use. This implied warranty included, among other
23    things: (i) a warranty that the Class Vehicles and their engines were manufactured,
24    supplied, distributed, and/or sold by Defendants were safe and reliable for providing
25    transportation and would not experience premature and catastrophic engine failure; and
26    (ii) a warranty that the Class Vehicles and their engines would be fit for their intended
27    use while the Class Vehicles were being operated.
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 1          174. Contrary to the applicable implied warranties, the Class Vehicles and their
 2    engines at the time of sale and thereafter were not fit for their ordinary and intended
 3    purpose of providing Plaintiffs and the other Class Members with reliable, durable, and
 4    safe transportation. Instead, the Class Vehicles suffer from a defective design(s) and/or
 5    manufacturing defect(s).
 6          175. Defendants’ actions, as complained of herein, breached the implied warranty
 7    that the Class Vehicles were of merchantable quality and fit for such use.
 8                                  SEVENTH CAUSE OF ACTION
 9        BREACH OF WRITTEN WARRANTY UNDER THE MAGNUSON-MOSS
10                             WARRANTY ACT (15 U.S.C. § 2301, et seq.)
11    (On behalf of the Nationwide Class or, Alternatively, the California Class, and Ohio
12                                               Class)
13          176. Plaintiffs and the Class incorporate by reference each preceding and
14    succeeding paragraph as though fully set forth at length herein.
15          177. Plaintiffs bring this claim on behalf of themselves and on behalf of the
16    Nationwide Class or, alternatively, on behalf of the state subclasses.
17          178. Plaintiffs and the Class are “consumers” within the meaning of the
18    Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
19          179. Defendants are suppliers and warrantors within the meaning of 15 U.S.C.
20    §§ 2301(4)-(5).
21          180. The Class Vehicles are “consumer products” within the meaning of 15
22    U.S.C. § 2301(1).
23          181. Defendants’ 5 year/60,000 miles Basic Warranty and 10 year/100,000 miles
24    Powertrain Warranty are “written warranties” within the meaning of 15 U.S.C.
25    § 2301(6).
26          182. Defendants breached the express warranties by:
27                 a.     Providing a 5 year/60,000 miles Basic Warranty and a 10
28                        year/100,000 miles Powertrain Warranty with the purchase or
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 1                        lease of the Class Vehicles, thereby warranting to repair or
 2                        replace any part defective in material or workmanship at no cost
 3                        to the owner or lessee;
 4               b.       Selling and leasing Class Vehicles with engines that were
 5                        defective in materials and/or workmanship, requiring repair or
 6                        replacement within the warranty period; and
 7               c.       Refusing and/or failing to honor the express warranties by
 8                        repairing or replacing, free of charge, the engine or any of its
 9                        component parts in order to remedy the defective connecting
10                        rod bearings and insufficient engine oil lubrication channels.
11          183. Plaintiffs and the other Class Members relied on the existence and length of
12    the express warranties in deciding whether to purchase or lease the Class Vehicles.
13          184. Defendants’ breach of the express warranties has deprived Plaintiffs and the
14    other Class Members of the benefit of their bargain.
15          185. The amount in controversy of Plaintiffs’ individual claims meets or exceeds
16    the sum or value of $25.00. In addition, the amount in controversy meets or exceeds the
17    sum or value of $50,000 (exclusive of interests and costs) computed on the basis of all
18    claims to be determined in this suit.
19          186. Defendants have been afforded a reasonable opportunity to cure their breach
20    of the written warranties and/or Plaintiffs and the other Class Members were not required
21    to do so because affording Defendants a reasonable opportunity to cure their breach of
22    written warranties would have been futile. Defendants were also on notice of the alleged
23    defect from the complaints and service requests it received from Class Members, as well
24    as from their own warranty claims, customer complaint data, and/or parts sales data.
25          187. As a direct and proximate cause of Defendants’ breach of the written
26    warranties, Plaintiffs and the other Class Members sustained damages and other losses in
27    an amount to be determined at trial. Defendants’ conduct damaged Plaintiffs and the
28    other Class Members, who are entitled to recover actual damages, consequential
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 1    damages, specific performance, diminution in value, costs, including statutory attorney
 2    fees and/or other relief as deemed appropriate.
 3    //
 4    //
 5    //
 6    //
 7                                 EIGHTH CAUSE OF ACTION
 8                                    COMMON LAW FRAUD
 9    (On Behalf of the Nationwide Class or, Alternatively, the California Class and Ohio
10                                                Class)
11          188. Plaintiffs and the Class incorporate by reference each preceding and
12    succeeding paragraph as though fully set forth at length herein.
13          189. Plaintiffs bring this claim on behalf of themselves and on behalf of the
14    Nationwide Class or, alternatively, on behalf of the state subclasses.
15          190. Defendants made material omissions concerning a presently existing or past
16    fact. For example, Defendants did not fully and truthfully disclose to their customers the
17    true nature of the inherent defect with the GDI Engine, which was not readily
18    discoverable until years later, often after the New Vehicle Limited Warranty or the
19    Powertrain Warranty had expired. As a result, Plaintiffs and the other Class Members
20    were fraudulently induced to lease and/or purchase the Class Vehicles with the said
21    defect and all of the resultant problems.
22          191. These omissions were made by Defendants with knowledge of their falsity,
23    and with the intent that Plaintiffs and the Class Members rely on them.
24          192. Plaintiffs and the Class Members reasonably relied on these omissions, and
25    suffered damages as a result.
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 1                                   NINTH CAUSE OF ACTION
 2              BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
 3    (On Behalf of the Nationwide Class or, Alternatively, the California Class and Ohio
 4                                                Class)
 5             193. Plaintiffs and the Class incorporate by reference each preceding and
 6    succeeding paragraph as though fully set forth at length herein.
 7             194. Plaintiffs bring this claim on behalf of themselves and on behalf of the
 8    Nationwide Class or, alternatively, on behalf of the state subclasses.
 9             195. All contracts in California and Ohio contain an implied covenant of good
10    faith and fair dealing. The implied covenant of good faith and fair dealing is an
11    independent duty and may be breached even if there is no breach of a contract’s express
12    terms.
13             196. Defendants breached the covenant of good faith and fair dealing by, inter
14    alia, failing to notify Plaintiffs and Class Members of the defective connecting rod
15    bearings and insufficient engine oil lubrication channels in the Class Vehicles, and failing
16    to fully and properly repair this defect.
17             197. Defendants acted in bad faith and/or with a malicious motive to deny
18    Plaintiffs and the Class Members some benefit of the bargain originally intended by the
19    parties, thereby causing them injuries in an amount to be determined at trial.
20                                   TENTH CAUSE OF ACTION
21         VIOLATION OF THE SONG-BEVERLY ACT – BREACH OF IMPLIED
22                                            WARRANTY
23                              (Cal. Civ. Code §§ 1792, 1791.1, et seq.)
24        (On Behalf of the Nationwide Class or, Alternatively, the California Class -)
25             198. Plaintiffs and the Class incorporate by reference each preceding and
26    succeeding paragraph as though fully set forth at length herein.
27             199. Plaintiffs bring this claim on behalf of themselves and on behalf of the
28    Nationwide Class or, alternatively, on behalf of the California Class.
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 1          200. At all relevant times hereto, Defendants were the manufacturer, distributor,
 2    warrantor, and/or seller of the Class Vehicles. Defendants knew or should have known of
 3    the specific use for which the Class Vehicles were purchased.
 4          201. Defendants provided Plaintiffs and the Class Members with an implied
 5    warranty that the Class Vehicles, and any parts thereof, are merchantable and fit for the
 6    ordinary purposes for which they were sold. The Class Vehicles, however, are not fit for
 7    their ordinary purpose because, inter alia, the Class Vehicles and their engines suffered
 8    from an inherent defect at the time of sale that causes the Class Vehicles to experience
 9    premature and catastrophic engine failure.
10          202. The Class Vehicles are not fit for the purpose of providing safe and reliable
11    transportation because of the defect.
12          203. Defendants impliedly warranted that the Class Vehicles were of
13    merchantable quality and fit for such use. This implied warranty included, inter alia, the
14    following: (i) a warranty that the Class Vehicles and their engines were manufactured,
15    supplied, distributed, and/or sold by Defendants were safe and reliable for providing
16    transportation and would not prematurely and catastrophically fail; and (ii) a warranty
17    that the Class Vehicles and their engines would be fit for their intended use – providing
18    safe and reliable transportation – while the Class Vehicles were being operated.
19          204. Contrary to the applicable implied warranties, the Class Vehicles and their
20    engines at the time of sale and thereafter were not fit for their ordinary and intended
21    purpose. Instead, the Class Vehicles are defective, including, but not limited to, the
22    engine defect and/or manufacture of the GDI Engines.
23          205. Defendants’ actions, as complained of herein, breached the implied warranty
24    that the Class Vehicles were of merchantable quality and fit for such use in violation of
25    California Civil Code §§ 1792 and 1791.1.
26                                     PRAYER FOR RELIEF
27          WHEREFORE, Plaintiffs, on behalf of themselves and members of the Class,
28    respectfully request that this Court:
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 1          A. determine that the claims alleged herein may be maintained as a class action
 2              under Rule 23 of the Federal Rules of Civil Procedure, and issue an order
 3              certifying one or more Classes as defined above;
 4          B. appoint Plaintiffs as the representatives of the Classes and their counsel as Class
 5              counsel;
 6          C. award all actual, general, special, incidental, statutory, punitive, and
 7              consequential damages and restitution to which Plaintiffs and the Class
 8              Members are entitled under Causes of Action 2 through 10, but award only
 9              restitution and injunctive relieve, pursuant to California Civil Code § 1780, at
10              this time;
11          D. award pre-judgment and post-judgment interest on such monetary relief;
12          E. grant appropriate injunctive and/or declaratory relief, including, without
13              limitation, an order that requires Defendants to repair, recall, and/or replace the
14              Class vehicles and to extend the applicable warranties to a reasonable period of
15              time, or, at a minimum, to provide Plaintiffs and Class Members with
16              appropriate curative notice regarding the existence and cause of the engine
17              defect;
18          F. award reasonable attorneys’ fees and costs; and
19          G. grant such further relief that this Court deems appropriate.
20    Dated: December 19, 2017                        Respectfully submitted,
21                                                    MCCUNE WRIGHT AREVALO LLP
22
23                                            By:     /s/ David C. Wright
                                                      David C. Wright
24
                                                      Attorneys for Plaintiffs and Putative Class
25
26                                         JURY DEMAND
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 1           Plaintiffs, on behalf of themselves and the putative Class, demand a trial by jury on
 2    all issues so triable.
 3                                                   MCCUNE WRIGHT AREVALO LLP
 4
                                             By:     /s/ David C. Wright
 5                                                   David C. Wright
                                                     Attorneys for Plaintiffs and Putative Class
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